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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.

 MICHAEL T. FLYNN,                    Crim. Action No. 17-232 (EGS)
                  Defendant.


                          MEMORANDUM OPINION

I.    Introduction

      On December 1, 2017, Defendant Michael T. Flynn (“Mr.

Flynn”), a retired United States Army Lieutenant General and the

former National Security Advisor to the President of the United

States, pled guilty to willfully and knowingly making materially

false statements and omissions to the Federal Bureau of

Investigation (“FBI”), in violation of 18 U.S.C. § 1001(a)(2).

Mr. Flynn admitted to lying about his conversations with

Russia’s Ambassador to the United States (“Russian Ambassador”)

during his FBI interview on January 24, 2017. The case was

originally assigned to Judge Rudolph Contreras. Judge Contreras

accepted the guilty plea, finding that Mr. Flynn—who was

represented by experienced attorneys—knowingly, voluntarily, and

intelligently entered into the Plea Agreement.

      Six days later, on December 7, 2017, the case was randomly

reassigned to this Court, which scheduled a sentencing hearing
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for December 18, 2018. During that hearing, the Court conducted

an extension of the plea colloquy in view of statements made in

Mr. Flynn’s sentencing memorandum that raised questions as to

whether Mr. Flynn sought to challenge the circumstances of his

FBI interview. In response to the Court’s questions, Mr. Flynn

maintained his plea of guilty upon the advice of counsel. Mr.

Flynn neither challenged the conditions of his FBI interview nor

expressed any concerns with the government’s obligations

pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and this

Court’s Standing Brady Order of February 16, 2018. According to

the government, Mr. Flynn’s substantial assistance to law

enforcement authorities led to criminal charges against

individuals in the United States District Court for the Eastern

District of Virginia. Rather than imposing a sentence on

December 18, 2018, this Court permitted Mr. Flynn to continue

his cooperation with the government. Seven months later,

however, the government decided not to call Mr. Flynn as a

witness in its case-in-chief in the Eastern District of

Virginia. Before that trial, Mr. Flynn retained new counsel. Mr.

Flynn now asserts his innocence, claims prosecutorial

misconduct, prays for dismissal, and urges this Court to hold

the prosecutors in civil contempt for alleged Brady violations.

     Pending before the Court are several motions filed by Mr.

Flynn: (1) Motion to Compel the Production of Brady Material and

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for an Order to Show Cause, ECF Nos. 109 & 111; (2) Sealed

Motion to Compel the Production of Brady Material, ECF No. 112;

(3) Sealed Motion for an Order to Show Cause, ECF No. 113; and

(4) Motion to Compel the Production of Newly Discovered Brady

Evidence, ECF No. 124. Upon careful consideration of the

parties’ submissions, the applicable law, the entire record

herein, and for the reasons explained below, the Court DENIES

Mr. Flynn’s motions.

II.   Background

      The Court assumes the parties’ familiarity with the factual

and procedural background in this case. The Court briefly

summarizes the relevant background—drawn from the parties’

submissions and the Statement of the Offense (“SOF”)

accompanying the Plea Agreement—to resolve the pending motions.

See SOF, ECF No. 4 at 1-5; see also Plea Agreement, ECF No. 1 at

1 ¶ 2. 1

      Mr. Flynn served as a surrogate and national security

advisor for then-candidate Donald J. Trump during the 2016

presidential campaign. SOF, ECF No. 4 at 1 ¶ 1. After the

November 2016 election, Mr. Flynn became a senior member of the

President-Elect’s Transition Team. Id. Mr. Flynn served as the




1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
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National Security Advisor to President Trump between January 22,

2017 and February 13, 2017. Def.’s Ex. 1, ECF No. 133-1 at 1-2.

        A. Mr. Flynn’s Criminal Conduct

     The criminal conduct underlying the offense, as set forth

in the Information, was admitted to by Mr. Flynn when he entered

his guilty pleas in this case. See, e.g., Information, ECF No. 1

at 1-2; Plea Hr’g Tr. (Dec. 1, 2017), ECF No. 16 at 18-19;

Sentencing Hr’g Tr. (Dec. 18, 2018), ECF No. 103 at 9-10. The

Information, which was filed on November 30, 2017, charged Mr.

Flynn with one count of willfully and knowingly making

materially false statements to the FBI, in violation of 18

U.S.C. § 1001(a)(2), during his interview with two FBI agents on

January 24, 2017 in the White House. See Information, ECF No. 1

at 1-2; see also Sentencing Hr’g Tr., ECF No. 103 at 32. Under

oath and with the advice of counsel, Mr. Flynn pled guilty to

the crime on December 1, 2017. Plea Hr’g Tr., ECF No. 16 at 30-

31; see also Plea Agreement, ECF No. 3 at 10. The SOF sets forth

the events relevant to this case. See generally SOF, ECF No. 4

at 1-5. 2




2 On November 30, 2017, Mr. Flynn affirmed: “I have read every
word of this [SOF], or have had it read to me. Pursuant to
Federal Rule of Criminal Procedure 11, after consulting with my
attorneys, I agree and stipulate to this [SOF], and declare
under penalty of perjury that it is true and correct.” SOF, ECF
No. 4 at 6. Mr. Flynn’s attorney acknowledged the same. Id.
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       On December 21, 2016, Egypt introduced a resolution to the

United Nations (“U.N.”) Security Council regarding Israeli

settlements, and the vote on the resolution was scheduled for

December 22, 2016. Id. at 4 ¶ 4. On December 29, 2016, then-

President Barack H. Obama imposed sanctions on Russia for its

interference in the 2016 presidential election. See id. at 2 ¶

3(a). Before the President-Elect was sworn into office, Mr.

Flynn engaged in conversations with the Russian Ambassador

between December 22, 2016 and December 31, 2016. Id. at 2-5 ¶¶

3-4.

       The FBI opened an investigation into Russia’s efforts to

interfere in the 2016 election, which included determining the

existence of any links between Russia and individuals associated

with the Trump campaign. Id. at 1 ¶ 1. 3 As part of the


3 On May 17, 2017, then-Acting Attorney General Rod J. Rosenstein
appointed Robert S. Mueller, III to serve as Special Counsel for
the United States Department of Justice and authorized the
Special Counsel to investigate the Russian government’s efforts
to interfere in the 2016 election, including any matters arising
from that investigation. Special Counsel Robert S. Mueller, III,
U.S. Dep’t of Justice, Report On The Investigation Into Russian
Interference In The 2016 Presidential Election, Vol. I of
II (“Mueller Report”) (Mar. 2019), ECF No. 79-1 at 19. The
Special Counsel was duly authorized to prosecute federal crimes
arising from the investigation. Id. The Special Counsel
concluded that Russia interfered in the 2016 presidential
election in two principle ways: (1) carrying out a social media
campaign favoring then-candidate Trump and disparaging then-
candidate Hillary Rodham Clinton; and (2) “conduct[ing]
computer-intrusion operations against entities, employees, and
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investigation, Mr. Flynn made a series of materially false

statements about his conversations with the Russian Ambassador.

Id. at 1-2 ¶ 2 (stating that “[Mr.] FLYNN’s false statements and

omissions impeded and otherwise had a material impact on the

FBI’s ongoing investigation into the existence of any links or

coordination between individuals associated with the [Trump]

Campaign and Russia’s efforts to interfere with the 2016

presidential election”); see id. at 2-5 ¶¶ 3-4; see also

Information, ECF No. 1 at 1-2. Mr. Flynn admitted to lying to

the FBI about his request on or about December 29, 2016 to the

Russian Ambassador that Russia refrain from escalating the

situation in response to the sanctions imposed by the United

States against Russia, and the Russian Ambassador telling Mr.

Flynn that Russia decided to moderate its response to the

sanctions. SOF, ECF No. 4 at 2-3 ¶ 3. In addition, Mr. Flynn

admitted to making false statements to the FBI about his request

on or about December 22, 2016 to the Russian Ambassador that

Russia vote against or delay Egypt’s resolution to the U.N.

Security Council, that the Russian Ambassador never described to

Mr. Flynn Russia’s response to his request, that Mr. Flynn did

not request certain countries to take a particular position on



volunteers working on the Clinton Campaign and then releas[ing]
stolen documents.” Id. at 9. The Special Counsel’s
“investigation also identified numerous links between the
Russian government and the Trump Campaign.” Id.
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the resolution, and that Mr. Flynn only asked the countries for

their respective positions on the vote. Id. at 4-5 ¶ 4.

     Mr. Flynn also admitted to making false statements in the

documents that he submitted to the United States Department of

Justice (“DOJ”) on March 7, 2017 under the Foreign Agents

Registration Act, 22 U.S.C. §§ 611–621 (“FARA”). Id. at 5 ¶ 5;

see also Addendum to Gov’t’s Mem. in Aid of Sentencing, ECF No.

75 at 3 (stating that “[Mr. Flynn] stipulated and agreed that he

violated FARA by making materially false statements” in the FARA

filings). Those FARA filings concerned a project that Mr. Flynn

and his company, Flynn Intel Group, Inc. (“FIG”), performed on

behalf of the Republic of Turkey. SOF, ECF No. 4 at 5 ¶ 5. Mr.

Flynn, however, was not charged with any FARA violations. See

Information, ECF No. 1 at 1; see also Status Hr’g Tr. (Sept. 10,

2019), ECF No. 114 at 20. For purposes of sentencing, Mr. Flynn

did not dispute the relevance of the FARA references in the

government’s description of the nature and circumstances of his

offense. See Gov’t’s Mem. in Aid of Sentencing, ECF No. 46 at 3-

5; see also Def.’s Mem. in Aid of Sentencing, ECF No. 50 at 12.

Indeed, the government confirmed that Mr. Flynn could have been

charged with making false statements in the FARA filings.

Sentencing Hr’g Tr., ECF No. 103 at 28. Under the terms of the

Plea Agreement, the government agreed not to further prosecute

Mr. Flynn for the criminal conduct described in the SOF. Plea

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Agreement, ECF No. 3 at 2 ¶ 3. In the final analysis, the

government did not charge Mr. Flynn with violating the Logan

Act, 18 U.S.C. § 953, or with being a foreign agent. See

Information, ECF No. 1 at 1.

       B. The Government’s Discovery and Disclosure Obligations

     Prior to Mr. Flynn signing the Plea Agreement, the

government, on November 22, 2017, provided Mr. Flynn’s attorneys

with the FBI’s FD-302 (dated February 15, 2017), which

summarized Mr. Flynn’s January 24, 2017 FBI interview. Gov’t’s

Notice of Disc. Correspondence, ECF No. 123 at 1; see also

Def.’s Ex. 15, ECF No. 133-15 at 1. Mr. Flynn and defense

counsel participated in post-January 24, 2017 interviews. See

Gov’t’s Opp’n, ECF No. 122 at 4 n.1; see also Def.’s Ex. 15, ECF

No. 133-15 at 1. During five of those interviews, the government

provided “[Mr. Flynn] with dozens of relevant documents.”

Gov’t’s Surreply, ECF No. 132 at 3 n.2.

     On November 30, 2017, before Mr. Flynn signed the Plea

Agreement, the government made certain disclosures to Mr.

Flynn’s counsel. The government informed defense counsel that

the DOJ’s Inspector General (“IG”) reviewed allegations

involving certain electronic communications of Peter Strzok

(“Mr. Strzok”), one of the FBI agents who interviewed Mr. Flynn

on January 24, 2017, that showed a preference for a presidential

candidate. Gov’t’s Opp’n, ECF No. 122 at 5-6. This included

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information about certain text messages between Mr. Strzok and

former FBI attorney Lisa Page (“Ms. Page”). See id. at 8-9; see

also Gov’t’s Surreply, ECF No. 132 at 9 n.6. The government also

disclosed to defense counsel “the IG’s review, including the

IG’s assessment as to whether those communications constituted

misconduct by [Mr.] Strzok.” Gov’t’s Opp’n, ECF No. 122 at 5-6.

The government then informed defense counsel that Mr. Strzok and

the other interviewing FBI agent “had the impression at the time

that [Mr. Flynn] was not lying” or that the FBI agents “did not

think he was lying” during the January 24, 2017 FBI interview.

Id. at 6 (emphasis added). The government answered defense

counsel’s questions after disclosing this information. Id. at 6.

Those disclosures were provided prior to Mr. Flynn signing the

Plea Agreement on November 30, 2017 and pleading guilty before

Judge Contreras on December 1, 2017. See Def.’s Ex. 1, ECF No.

133-1 at 3.

     After receiving the government’s disclosures and

productions, Mr. Flynn signed the Plea Agreement upon the advice

of counsel. See Plea Agreement, ECF No. 3 at 10. Judge Contreras

accepted Mr. Flynn’s guilty plea on December 1, 2017, finding

that Mr. Flynn entered the plea knowingly, voluntarily, and

intelligently with the advice of counsel. Plea Hr’g Tr., ECF No.

16 at 4, 30-31. Mr. Flynn attested that his attorneys from

Covington & Burling LLP rendered legal services to his

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satisfaction as part of the Plea Agreement and the related

matters. Plea Agreement, ECF No. 3 at 10; see also Plea Hr’g

Tr., ECF No. 16 at 6.

     On December 7, 2017, this case was randomly reassigned to

this Court. See generally Docket for Crim. Action No. 17-232.

This Court entered its operative Standing Brady Order on

February 16, 2018, requiring the government to produce any

evidence in its possession that was favorable to the defendant

and material to either the defendant’s guilt or punishment. See,

e.g., Order, ECF No. 20 at 1-4. On February 21, 2018, the Court

entered the Protective Order Governing Discovery pursuant to

Federal Rule of Criminal Procedure 16(d). Protective Order, ECF

No. 22 at 1-6. Shortly thereafter, the government produced

additional documents to Mr. Flynn and defense counsel to comply

with this Court’s Standing Brady Order. See Gov’t’s Opp’n, ECF

No. 122 at 8, 18 n.9; see also Def.’s Ex. 15, ECF No. 133-15 at

1.

     The government’s production consisted of more than 22,000

pages of documents. See Joint Status Report, ECF No. 107 at 5

(“Among those documents are all versions in the government’s

possession of the FBI report of the January 24, 2017 interview

of [Mr. Flynn] and the interviewing agents’ notes.”); see also

Gov’t’s Notice of Disc. Correspondence, ECF No. 123 at 1-3

(providing an itemized inventory of discovery correspondence and

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its productions). More than 21,000 pages of those documents

related to Mr. Flynn’s March 7, 2017 FARA filings, and the

remainder related to his false statements to the FBI on January

24, 2017. Gov’t’s Opp’n, ECF No. 122 at 8, 8 n.3. The government

contends that Mr. Flynn was not entitled to Brady material until

he was charged on November 30, 2017, but the government

nonetheless provided Mr. Flynn with materials before and during

the voluntary interviews. Gov’t’s Surreply, ECF No. 132 at 3

n.2. According to the government, Mr. Flynn “agree[d] to forgo

the right to any further discovery or disclosures of information

not already provided at the time of the entry of [his] guilty

plea.” Plea Agreement, ECF No. 3 at 6 ¶ 9(C); see also Gov’t’s

Opp’n, ECF No. 122 at 1, 5.

       C. The Continuance of Mr. Flynn’s Sentencing

     On December 18, 2018, this Court accepted Mr. Flynn’s

guilty plea a second time. Sentencing Hr’g Tr., ECF No. 103 at

5, 16. During that hearing, the Court extended the plea colloquy

in view of Mr. Flynn’s statements in his sentencing memorandum,

which raised questions as to whether Mr. Flynn sought to

challenge the conditions of the FBI interview. See generally

Def.’s Mem. in Aid of Sentencing, ECF No. 50 at 6-18. In

response to the Court’s question, defense counsel did not

express “any concerns that potential Brady material or other

relevant material was not provided to [Mr. Flynn].” Sentencing

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Hr’g Tr., ECF No. 103 at 10. Defense counsel affirmed to this

Court that Mr. Flynn was not entitled to any additional

information. Id. at 10-11. Under oath, Mr. Flynn confirmed that

his rights were not violated as a result of the circumstances of

his January 24, 2017 FBI interview and the allegations of

misconduct against FBI officials. Id. at 11-12. And Mr. Flynn

declined the Court’s invitation for the appointment of

independent counsel to advise him. Id. at 9-10.

     Noting that the Court’s usual practice is to impose a

sentence after the completion of a defendant’s cooperation, the

Court granted Mr. Flynn’s request to continue the sentencing

hearing to allow him to further cooperate with the government

after considering defense counsel’s representations that Mr.

Flynn was prepared to continue his cooperation in the criminal

case in the Eastern District of Virginia. Id. at 47-48. The

trial in that case was scheduled to begin in July 2019. See

Joint Status Report, ECF No. 71 at 1; see also Status Hr’g Tr.

(June 24, 2019), ECF No. 94 at 5-6. In June 2019, Mr. Flynn

retained new counsel. See Min. Order of June 14, 2019. Mr. Flynn

did not testify at the trial in the Eastern District of

Virginia. See, e.g., Min. Order of July 9, 2019; Gov’t’s Resp.

to Order of the Court, ECF No. 97 at 1-2; Def.’s Resp. to Order

of the Court, ECF No. 98 at 1-11; Def.’s Suppl. Status Report,



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ECF No. 121 at 1. 4 Motions practice ensued.

       D. Mr. Flynn’s Brady Motions

     Mr. Flynn moved to compel the production of Brady material

on August 30, 2019, and October 15, 2019, respectively. See

generally Def.’s Br. in Supp. of Def.’s Mot. to Compel Produc.

of Brady Material & Mot. for Order to Show Cause (“Def.’s Br.”),

ECF No. 109; Def.’s Redacted Mot. to Compel & Mot. for Order to

Show Cause, ECF No. 111 (“Def.’s Mot.”); Def.’s Sealed Mot. to

Compel Produc. of Brady Material, ECF No. 112; Def.’s Suppl.,

ECF No. 116; Def.’s Mot. to Compel Newly Discovered Brady Evid.,




4 As previously stated, Mr. Flynn admitted that he made
materially false statements and omissions in the FARA filings.
SOF, ECF No. 4 at 5 ¶ 5. Months later, however, Mr. Flynn’s new
counsel represented that she “advised the prosecutors [in the
Eastern District of Virginia] that Mr. Flynn did not know and
did not authorize signing the FARA form believing there was
anything wrong in it. [Mr. Flynn] honestly answered the
questions his former counsel posed to him to the best of his
recollection, and some with the benefit of hindsight.” Def.’s
Mem. Opposing Coconspirator Designation of Non-Party Witness
Michael T. Flynn, United States v. Rafiekian, Crim. Action No.
18-457 (E.D. Va. July 8, 2019), ECF No. 270 at 6; see id. (“As
for the final filing, Mr. Flynn recalls only reading the cover
letter. Regardless of what he read, he did not intend to or
knowingly make any false statements, and this is a complex area
of law about which he knew nothing.”); see also Def.’s Resp. to
Order of the Court, ECF No. 98 at 7 (stating that “Mr. Flynn
accepted responsibility in the [SOF] for [the] inaccuracies” in
the FARA filing, but “nowhere . . . did he sign or recite that
he willfully allowed the filing to proceed—knowing and intending
it to deceive or mislead”). The government sought to designate
Mr. Flynn as a co-conspirator. United States v. Rafiekian, No.
1:18-CR-457-AJT-1, 2019 WL 4647254, at *5 (E.D. Va. Sept. 24,
2019) (granting defendant’s motion for acquittal), appeal filed,
No. 19-4803 (4th Cir. Oct. 31, 2019).
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 ECF No. 124. Defense counsel’s theory is that “[t]he evidence

 the defense requests, if produced, would defeat the factual

 basis for the plea.” Def.’s Reply, ECF No. 133 at 27 (footnote

 omitted).

       Thereafter, the government filed its opposition briefs,

 arguing that it has satisfied its obligations under Brady and

 this Court’s Standing Brady Order. See Gov’t’s Opp’n, ECF No.

 122 at 2; see also Gov’t’s Opp’n, ECF No. 124 at 1-2. According

 to the government, Mr. Flynn “fails to establish that [the

 requested] information is relevant—let alone favorable and

 material—in this criminal case.” Gov’t’s Opp’n, ECF No. 122 at

 2. Mr. Flynn filed his reply briefs. See Def.’s Reply, ECF No.

 133; see also Def.’s Reply, ECF No. 134. Because Mr. Flynn

 raised issues for the first time in one of his reply briefs, see

 Gov’t’s Notice of Claims Raised for the First Time in Reply, ECF

 No. 131 at 1-4, the Court directed the parties to submit sur-

 replies, see Min. Order of Oct. 29, 2019. The briefing is now

 complete, and the Court exercised its discretion to cancel the

 previously-scheduled motions hearing. See Min. Order of Oct. 28,

 2019; see also LCrR 47(f). The motions are ripe and ready for

 the Court’s adjudication.

III.   Legal Standard

       Pursuant to Brady and its progeny, the government has “an

 affirmative duty to disclose exculpatory evidence to the

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defense, even if no request has been made by the accused.”

United States v. Borda, 848 F.3d 1044, 1066 (D.C. Cir.), cert.

denied, 137 S. Ct. 2315 (2017). In Brady, the United States

Supreme Court held that “the suppression by the prosecution of

evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to

punishment, irrespective of the good faith or bad faith of the

prosecution.” 373 U.S. at 87. “Impeachment evidence, . . . as

well as exculpatory evidence, falls within the Brady rule.”

United States v. Bagley, 473 U.S. 667, 676 (1985) (citing United

States v. Giglio, 405 U.S. 150, 154 (1972)). However, “the

Constitution does not require the Government to disclose

material impeachment evidence prior to entering a plea agreement

with a criminal defendant.” United States v. Ruiz, 536 U.S. 622,

633 (2002).

     To prove a Brady violation, a movant must establish three

elements: “[1] The evidence at issue must be favorable to the

accused, either because it is exculpatory, or because it is

impeaching; [2] that evidence must have been suppressed by the

[government], either willfully or inadvertently; and

[3] prejudice must have ensued.” Strickler v. Greene, 527 U.S.

263, 281-82 (1999). “To satisfy the prejudice component, the

defendant must show that ‘there is a reasonable probability

that, had the evidence been disclosed to the defense, the result

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of the proceeding would have been different.’” United States v.

Sitzmann, 893 F.3d 811, 826 (D.C. Cir. 2018) (quoting Bagley,

473 U.S. at 682). “The defendant bears the burden of showing a

reasonable probability of a different outcome.” United States v.

Gale, 314 F.3d 1, 4 (D.C. Cir. 2003) (citing Strickler, 527 U.S.

at 291).

IV.   Analysis

      Mr. Flynn moves to compel the production of alleged Brady

material under several theories, claiming that newly discovered

evidence and the government’s suppression of evidence will

exonerate him. See Def.’s Br., ECF No. 109 at 4, 12. Mr. Flynn

contends that “[t]he only way to achieve justice in this case is

to provide transparency and the full disclosure of all

information relevant to the defense of Mr. Flynn.” Def.’s Mot.,

ECF No. 111 at 9. Mr. Flynn accuses the government of

suppressing certain information and alleges improprieties

regarding the circumstances leading up to his guilty plea—

including allegations of misconduct by the FBI, DOJ, and the

Special Counsel’s Office—that, in his view, call into question

the entire investigation, raise ethical concerns, warrant

findings of civil contempt, and demand dismissal. See Def.’s

Br., ECF No. 109 at 4-17; see also Def.’s Reply, ECF No. 134 at

2-5. Mr. Flynn, however, fails to explain how most of the

requested information that the government has not already

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provided to him is relevant and material to his underlying

offense—willfully and knowingly making materially false

statements and omissions to the FBI, in violation of 18 U.S.C. §

1001(a)(2)—or to his sentencing. See generally Def.’s Br., ECF

No. 109 at 4-17.

     The Court first considers Mr. Flynn’s requests and the

parties’ arguments, then analyzes Mr. Flynn’s request for

classified information, and concludes that Mr. Flynn has failed

to establish a single Brady violation. Before turning to the

specific requests, the Court will address the ethical concerns

with Mr. Flynn’s brief and Mr. Flynn’s misapplication of Brady

and its progeny.

       A. Ethical Concerns with Mr. Flynn’s Brief

     The Court notes that Mr. Flynn’s brief in support of his

first Brady motion lifted verbatim portions from a source

without attribution. Compare Def.’s Br., ECF No. 109 at 11-12,

15-16, 15 n.21, with Brief of the New York Council of Defense

Lawyers et al. as Amici Curiae Supporting Petitioner, Brown v.

United States, 566 U.S. 970 (2012) (No. 11-783), 2012 WL 242906

at *5-6, *8, *12-13, *12 n.6. In a footnote, Mr. Flynn’s brief

merely provides a hyperlink to the “excellent briefing by Amicus

[sic] in support of the Petition for Writ of Certiorari in Brown

v. United States.” Def.’s Br., ECF No. 109 at 16 n.22.



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     The District of Columbia Rules of Professional Conduct

apply to the proceedings in this Court. See LCrR 57.26. Rule

8.4(c) provides that “[i]t is professional misconduct for a

lawyer to . . . [e]ngage in conduct involving dishonesty, fraud,

deceit, or misrepresentation.” D.C. Rules of Prof’l Conduct R.

8.4(c); see In re Ayeni, 822 A.2d 420, 421 (D.C. 2003) (per

curiam) (lawyer’s plagiarized brief violated Rule 8.4(c)).

“[C]itation to authority is absolutely required when language is

borrowed.” United States v. Bowen, 194 F. App’x 393, 402 n.3

(6th Cir. 2006); accord LCrR 47(a). “The [C]ourt expects counsel

to fully comply with this [C]ourt’s rules and submit work

product befitting of pleadings [and briefs] in a federal court.”

Kilburn v. Republic of Iran, 441 F. Supp. 2d 74, 77 n.2 (D.D.C.

2006).

         B. Mr. Flynn Misconstrues Brady and its Progeny

     Mr. Flynn misconstrues Brady and its progeny in two

fundamental ways. First, Mr. Flynn asserts that he was “entitled

to all the Brady evidence in the government’s possession well

before November 2017.” Def.’s Reply, ECF No. 133 at 24. The

government responds that “Brady imposes no such requirement for

uncharged individuals.” Gov’t’s Surreply, ECF No. 132 at 2.

Mr. Flynn cites no controlling precedent holding that an

uncharged individual is entitled to Brady evidence during an

ongoing criminal investigation. See Def.’s Sur-Surreply, ECF No.

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135 at 1; see also Gov’t’s Surreply, ECF No. 132 at 2. This

Court’s Standing Brady Order requires the government to produce

any evidence in its possession that is favorable to the

defendant and material to either the defendant’s guilt or

punishment, Order, ECF No. 20 at 1-4, notwithstanding Mr.

Flynn’s waiver of his right to any further discovery or

disclosures of information, see Plea Agreement, ECF No. 3 at 6 ¶

9(C). Contrary to Mr. Flynn’s assertion, however, “[t]he holding

in Brady v. Maryland requires disclosure only of evidence that

is both favorable to the accused and ‘material either to guilt

or to punishment.’” Bagley, 473 U.S. at 674 (quoting Brady, 373

U.S. at 87) (emphasis added); cf. D’Angio v. United States,

No. 3:07-CV-474, 2007 WL 9757556, at *4 (M.D. Pa. Nov. 6, 2007)

(“Premature disclosure of Brady material could impede and/or

frustrate a federal criminal investigation.”). 5 Accordingly, the


5 Mr. Flynn cites United States v. Nelson, 979 F. Supp. 2d 123,
135-36 (D.D.C. 2013) in which the court held that a guilty plea
was not voluntary and knowing because the prosecution suppressed
exculpatory evidence before the defendant pled guilty. Def.’s
Sur-Surreply, ECF No. 135 at 13-14. Consistent with Nelson, this
Court’s Standing Brady Order requires the government to
“produc[e], during plea negotiations, any exculpatory evidence
in the government’s possession.” Order, ECF No. 20 at 2-3
(footnote omitted). Nelson, however, lends no support to Mr.
Flynn’s position that he was entitled to Brady evidence before
he was formally charged in this case. Moreover, Mr. Flynn does
not deny that the government provided him with documents before
he signed the Plea Agreement, and Mr. Flynn and defense counsel
participated in five voluntary interviews with the government in
November 2017. See Gov’t’s Surreply, ECF No. 132 at 1-2, 3 n.2;
see generally Def.’s Sur-Surreply, ECF No. 135 at 13-14.
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Court agrees with the government that Brady and its progeny does

not require the disclosure of exculpatory or impeachment

material to an uncharged individual during an ongoing criminal

investigation.

     Next, Mr. Flynn claims that he is entitled to inculpatory

evidence “to evaluate the government’s allegations against him

and to determine how to proceed.” Def.’s Br., ECF No. 109 at 7.

Under Brady, however, “the Government has no duty to disclose

evidence that is neutral, speculative, or inculpatory, or

evidence that is available to the defense from other sources.”

United States v. Pendleton, 832 F.3d 934, 940 (8th Cir. 2016);

cf. United States v. Martinez, 764 F. Supp. 2d 166, 169 (D.D.C.

2011) (observing that “a defendant only has a right to receive

from the government exculpatory information, not inculpatory

information”).

     The government’s Brady obligations are separate and

distinct from its obligations under Rule 16 of the Federal Rules

of Criminal Procedure, see Fed. R. Crim. P. 16, which mandates

the disclosure of any evidence that is material to the

preparation of a defense. United States v. Marshall, 132 F.3d

63, 67 (D.C. Cir. 1998) (“[Rule 16] as written does not compel

the conclusion that inculpatory evidence is immune from

disclosure.”); cf. United States v. Libby, 429 F. Supp. 2d 1, 5

(D.D.C. 2006) (“Rule 16 provides for the pre-trial disclosure by

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the government of [,inter alia,] . . . the defendant’s oral,

written or recorded statements[.]”). Rule 16 has certain

recognized exceptions, see United States v. Armstrong, 517 U.S.

456, 463 (1996) (“[U]nder Rule 16(a)(2), [a defendant] may not

examine Government work product in connection with his case.”),

and the Court retains the discretion under Rule 16 to “for good

cause, deny, restrict, or defer discovery or inspection, or

grant other appropriate relief[,]” Fed. R. Crim. P. 16(d)(1).

       C. Mr. Flynn’s Brady Requests

     The Court next considers Mr. Flynn’s fifty separate

requests for information in which he seeks multiple documents in

various categories. See, e.g., Def.’s Mot., ECF No. 111 at 3-9;

Def.’s Mot. to Compel Newly Discovered Brady Evid., ECF No. 124

at 1-2; Gov’t’s Opp’n, ECF No. 122 at 14-17. To evaluate Mr.

Flynn’s requests, the Court divides them into six categories,

acknowledging that there is some overlap within certain

categories: (1) information that does not exist; (2) information

that is not within the government’s possession; (3) information

that Mr. Flynn concedes he is not entitled to; (4) information

that the government has already provided to Mr. Flynn;

(5) information that is unrelated to the charges against

Mr. Flynn in this case or to his sentencing; and (6) remaining

requests. For ease of reference, the Court has attached an

Appendix to this Memorandum Opinion, which includes the exact

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language from Mr. Flynn’s requests and the government’s

responses thereto.

               1. Information that Does Not Exist

     Request 5—“[t]he Flynn 302 dated January 19, 2017,

mentioned in the Mueller Report,” Def.’s Mot., ECF No. 111 at 4—

does not exist as the year of 2017 in the relevant portion of

the Mueller Report was a typographical error. See Gov’t’s App.

A, ECF No. 122-1 at 2 (clarifying that “January 19, 2017” is a

typographical error, and that Mr. Flynn’s interview took place

on January 19, 2018). Mr. Flynn does not dispute the

government’s response. See generally Def.’s Reply, ECF No. 133

at 5-36.

               2. Information the Government Does Not Possess

     Request 13—“[a]n unredacted copy of all of [former FBI

Director] James Comey’s testimony before any Congressional

committees,” Def.’s Mot., ECF No. 111 at 5—is not within the

government’s possession. See Gov’t’s App. A, ECF No. 122-1 at 3.

The government responds that to the extent Mr. Flynn seeks

unredacted copies of Director Comey’s Congressional testimony

after he was fired, the government does not possess them. Id.

Mr. Flynn does not dispute the government’s response. See

generally Def.’s Reply, ECF No. 133 at 5-36.




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               3. Information Mr. Flynn Concedes He Is Not
                  Entitled to

     Mr. Flynn concedes the government’s responses to Request

39—seeking all communications between DOJ officials regarding

the FARA registration for Mr. Flynn and FIG, see Def.’s Mot.,

ECF No. 111 at 7—that DOJ’s communications are deliberative in

nature and former defense counsel possesses his own notes from

his interactions with DOJ, see, e.g., Gov’t’s App. A, ECF No.

122-1 at 6; Def.’s Reply, ECF No. 133 at 15 n.9 (noting that

former counsel had an “extensive meeting” and a “follow-up call”

with DOJ).

               4. Information that Has Already Been Provided

                   a. Requests 18 and 20

     Mr. Flynn seeks certain alleged “exculpatory” statements in

then-Acting Assistant Attorney General Mary McCord’s (“Ms.

McCord”) FD-302s or interviews, and a January 30, 2017 internal

DOJ memorandum exonerating him of being an agent of Russia.

E.g., Def.’s Mot., ECF No. 111 at 5-6; Def.’s Reply, ECF No. 133

at 14; Def.’s Ex. 1, ECF No. 133-1 at 2. The government

responds—and Mr. Flynn does not dispute—that this information

has already been provided to him, Gov’t’s App. A, ECF No. 122-1

at 4; see generally Def.’s Reply, ECF No. 133 at 5-36, and the

government notes that the information in the internal DOJ

document is irrelevant because Mr. Flynn was not charged with


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being an agent of Russia, Gov’t’s App. A, ECF No. 122-1 at 4.

Indeed, “Brady only requires disclosure of information unknown

to the defendant.” United States v. Derr, 990 F.2d 1330, 1335

(D.C. Cir. 1993) (emphasis added). This information was known to

Mr. Flynn. See Gov’t’s App. A, ECF No. 122-1 at 4. For that

reason alone, Mr. Flynn has failed to demonstrate that he is

entitled to the requested information.

     Nonetheless, the government’s response to Request 18

indicates that it has not disclosed all of the requested

information in Ms. McCord’s FD-302s or interviews because

summaries of the relevant FD-302s and interviews were provided

to Mr. Flynn. See id. at 4 (“The government has already provided

[Mr. Flynn] with information from [Ms.] McCord’s interview

report that could reasonably be construed as favorable and

material to sentencing.”). To the extent he seeks information in

addition to what has already been provided, Mr. Flynn has failed

to establish the first component of his Brady claim:

favorability. See Strickler, 527 U.S. at 281-82.

     “Evidence is favorable to the accused under Brady if it has

either exculpatory or impeachment value.” United States v.

Sitzmann, 74 F. Supp. 3d 128, 134 (D.D.C. 2014), aff’d, 893 F.3d

811 (D.C. Cir. 2018). Without offering a specific legal argument

as to the exculpatory value of such information, Mr. Flynn

appears to request that information and other documents to

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defend against an alleged smear campaign that he is a foreign

agent. See, e.g., Def.’s Mot., ECF No. 111 at 5-6; Def.’s Reply,

ECF No. 133 at 14; Def.’s Reply, ECF No. 134 at 3. The

government argues that Requests 18 and 20 are irrelevant,

immaterial, and not favorable to Mr. Flynn, see Gov’t’s Opp’n,

ECF No. 122 at 15; see also Gov’t’s App. A, ECF No. 122-1 at 6,

because “[t]his case does not involve, and the government does

not ask that the Court consider at sentencing, an allegation

that [Mr. Flynn] was ‘an agent of Russia’[,]” Gov’t’s Opp’n, ECF

No. 122 at 4. Mr. Flynn is entitled to evidence that is

“relevant to the punishment to be imposed.” California v.

Trombetta, 467 U.S. 479, 485 (1984) (emphasis added). Because

the Court agrees that the requested information is irrelevant to

Mr. Flynn’s underlying offense and it is not favorable to his

guilt or punishment, the Court need not consider the other two

elements. See Sitzmann, 74 F. Supp. 3d at 137 (declining to

consider each element where defendant failed to identify the

favorability element).

                   b. Requests 6, 9, 10, 30 and 31

     Mr. Flynn seeks all of the Strzok-Page text messages,

information concerning those text messages, and information

concerning the destruction of the Strzok-Page cell phones and

eradication of cell phone data. See Def.’s Mot., ECF No. 111 at



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4-5, 7. 6 Mr. Flynn requests all of Mr. Strzok’s unredacted

electronic communications with various individuals and

government employees regarding Mr. Flynn, as well as

applications under the Foreign Intelligence Surveillance Act

(“FISA”), 50 U.S.C. § 1801 et seq., “or any surveillance (legal

or illegal) that would have reached Mr. Flynn’s communications.”

Id. at 5. Citing to the IG’s three published reports, see Def.’s

Br., ECF No. 109 at 12 n.14, 13 n.15, Mr. Flynn seeks all

evidence concerning the IG’s notification to the Special Counsel

about the Strzok-Page text messages, the “gaps” in those text

messages, and the destruction of their cell phones, see Def.’s

Mot., ECF No. 111 at 5, 7.

     Mr. Flynn first argues that the government’s “belated”

production of the text messages did not comply with its Brady


6 In Request 6, Mr. Flynn asserts that the government should
identify “we” in its October 4, 2018 letter to defense counsel.
Def.’s Mot., ECF No. 111 at 4. The government uses “we” to refer
to itself in its opposition brief, and the Court will assume
that “we” refers to “the government.” See Gov’t’s Opp’n, ECF No.
122 at 8. “In the Court’s view, ‘the government’ includes any
and all agencies and departments of the Executive Branch of
the government and their subdivisions.” United States v.
Safavian, 233 F.R.D. 12, 14 (D.D.C. 2005). In Request 10, Mr.
Flynn asserts that “the prosecutors did not produce a single
text message to the defense until March 13, 2018.” Def.’s Mot.,
ECF No. 111 at 5. Mr. Flynn ignores that the government informed
him of the Strzok-Page text messages, including their import,
before he signed the Plea Agreement on November 30, 2017, see
Gov’t’s Opp’n, ECF No. 122 at 8, and the fact that defense
counsel raised no issues with that production at the sentencing
hearing on December 18, 2018, see Sentencing Hr’g Tr., ECF No.
103 at 10-11.
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obligations because that information was not disclosed in time

for him to use it, see Def.’s Br., ECF No. 109 at 12; he then

contends that he could not download certain text messages from

the government’s hyperlink, Def.’s Reply, ECF No. 133 at 10; and

he goes on to argue that the government’s production was “long

after the actual evidence would have made a material difference”

to him, id. Mr. Flynn selectively quotes from a batch of the

text messages, see id. at 11-17, and he points to one, dated

January 10, 2017, that states: “Sitting with Bill watching CNN.

A TON more out . . . We’re discussing whether, now that this is

out, we can use it as a pretext to go interview some people.”

Id. at 11. According to Mr. Flynn, the government suppressed

that text message, id., the word “pretext” means that the entire

investigation of him had no basis, id., and Mr. Strzok admitted

that he had “many meetings” with former FBI Deputy Director

Andrew McCabe (“Mr. McCabe”) to decide whether to interview Mr.

Flynn, Def.’s Sur-Surreply, ECF No. 135 at 3 n.3. 7 Mr. Flynn

posits that the “belatedly-disclosed Strzok-Page texts” support




7 The Court notes that Mr. Flynn mischaracterizes the “many
meetings” reference in Mr. Strzok’s sworn statement (dated July
26, 2017). See Def.’s Ex. 5, ECF No. 133-5 at 4. Mr. Strzok, the
then-FBI Deputy Assistant Director in the Counterintelligence
Division, stated: “I have attended many meetings with [Mr.]
McCabe regarding Russian influence investigations, including
meetings which discussed whether to interview former National
Security Advisor Michael Flynn and if so, what interview
strategies to use.” Id. (emphasis added).
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his new claim that he was “honest with the agents to the best of

his recollection at the time, and the agents knew it.” Def.’s

Reply, ECF No. 133 at 27. Mr. Flynn claims that the government

is “still hid[ing] countless” text messages that are

“exculpatory and material.” Id. at 10.

     The government disagrees. The government notes—and

Mr. Flynn does not challenge—that it “informed [him] about the

existence of the text messages and their import on November 30,

2017” before Mr. Flynn signed the Plea Agreement and pled guilty

on December 1, 2017, and it “later informed [him] that it had

learned there were additional text messages that it did not have

access to at that time[.]” Gov’t’s Surreply, ECF No. 132 at 9

n.6; see generally Def.’s Sur-Surreply, ECF No. 135 at 1-17. On

March 13, 2018, the government produced to Mr. Flynn certain

Strzok-Page text messages after this Court entered the Standing

Brady Order and the Protective Order in this case. See Gov’t’s

App. A, ECF No. 122-1 at 3; see also Def.’s Mot., ECF No. 111 at

5. Neither does Mr. Flynn dispute that the government provided

him with hard-copy text messages when it became known that those

documents were inaccessible at the hyperlink, see Gov’t’s

Surreply, ECF No. 132 at 9 n.6, nor does Mr. Flynn deny the

government’s representation that the text messages are

impeaching of Mr. Strzok rather than exculpatory as to Mr.

Flynn, see Gov’t’s Opp’n, ECF No. 122 at 17. The government

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represents that the “CNN” reference in the January 10, 2017 text

message concerns a “discussion to conduct interviews based on

the public release of a report from Christopher Steele.” Gov’t’s

Surreply, ECF No. 132 at 9; cf. Mueller Report, ECF No. 79-6 at

14 (“On January 10, 2017, the media reported that [then-FBI

Director] Comey had briefed the President-Elect on the Steele

reporting[.]”).

     The Court is not persuaded by Mr. Flynn’s arguments.

Although there is no exact deadline for the production of Brady

material, it is a “longstanding constitutional principle that as

long as a defendant possesses Brady evidence in time for its

effective use, the government has not deprived the defendant of

due process of law simply because it did not produce the

evidence sooner.” United States v. Coppa, 267 F.3d 132, 144 (2d

Cir. 2001). 8 And Brady does not extend to information that is not


8 Mr. Flynn relies on United States v. Pasha, 797 F.3d 1122, 1139
(D.C. Cir. 2015) and United States v. Quinn, 537 F. Supp. 2d 99,
108 (D.D.C. 2008) to support his position that the government
failed to produce Brady evidence in time for him to use it. See,
e.g., Def.’s Reply, ECF No. 133 at 23-24. Pasha and Quinn are
factually distinguishable from this case. In Quinn, the court
found that the government’s actions violated Brady for the
nondisclosure of information before and after trial that “went
to the heart of [the defendant’s] defense,” 537 F. Supp. 2d at
109, which included failing to: (1) inform the defense that a
potential government witness lied about material matters during
an investigation; (2) disclose that the government did not
intend to call the potential witness as a witness because he was
the target of an investigation; and (3) inform the defense about
its ongoing plea negotiations with the potential witness before
sentencing, id. at 108. In Pasha, the United States Court of
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within the government’s possession, see United States v.

Pollack, 534 F.2d 964, 975 (D.C. Cir. 1976), or information that

the government is not aware of, see United States v. Turner, 104

F.3d 217, 220 (8th Cir. 1997). Here, the government maintains

that, before the parties entered into the Plea Agreement, it

disclosed to Mr. Flynn the existence of, but not the actual,

Strzok-Page electronic communications of which it was aware at

that time and responded to former defense counsel’s questions

regarding those communications. See, e.g., Gov’t’s Opp’n, ECF

No. 122 at 6; Gov’t’s App. A, ECF No. 122-1 at 3; Def.’s Ex. 1,

ECF No. 133-1 at 3 (stating that “[l]ate afternoon [on November

30, 2017], prosecutors ma[d]e [a] last minute telephonic

disclosure of electronic communications” and “[Mr.] Flynn

sign[ed] [the] [P]lea [A]greement”). The government provided Mr.

Flynn with the Strzok-Page text messages in its possession in



Appeals for the District of Columbia Circuit (“D.C. Circuit”)
upheld the district court’s finding that there was a Brady
violation where “[t]he prosecutor waited over eight months until
the eve of trial to reveal [Brady evidence].” 797 F.3d at 1133
(emphasis added). The prosecutor in that case “acknowledged to
the District Court that he had violated [DOJ] policy to provide
Brady information as soon as he became aware of it.” Id. at
1127. Nothing of the kind has been acknowledged in this case.
Further, Mr. Flynn does not dispute that the government provided
him with Brady material, relevant documents, and information
before and on November 30, 2017. See Gov’t’s Surreply, ECF No.
132 at 3 n.2; see also Def.’s Sur-Surreply, ECF No. 135 at 1.
The government made additional productions before Mr. Flynn
reaffirmed his guilty plea in December 2018. See Def.’s Ex. 15,
ECF No. 133-15 at 1; see also Gov’t’s Notice of Disc.
Correspondence, ECF No. 123 at 1-2.
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March 2018 and October 2018, and at the December 18, 2018

sentencing hearing, both Mr. Flynn and former defense counsel

stated that they had no “concerns that potential Brady material

or other relevant material was not provided to [Mr. Flynn].”

Sentencing Hr’g Tr., ECF No. 103 at 10.

     Mr. Flynn argues that information in the Strzok-Page text

messages is exculpatory. See Def.’s Reply, ECF No. 133 at 10.

Assuming, without deciding, that the Strzok-Page text messages

contain exculpatory material, Mr. Flynn must establish the other

two elements: suppression and materiality. See United States v.

Pettiford, 627 F.3d 1223, 1227 (D.C. Cir. 2010). Mr. Flynn

cannot demonstrate that the government suppressed the allegedly

exculpatory material in the Strzok-Page text messages if he had

access to them. See United States v. Ballestas, 795 F.3d 138,

150 (D.C. Cir. 2015) (“Because [the petitioner] had access to

[the Brady material] ‘in time to make effective use of it,’ he

[could not have] show[n] that the government suppressed the

document.”) (citation omitted). It is uncontested that Mr. Flynn

and former defense counsel were aware of the existence and

import of the text messages before he accepted the plea offer

and before he pled guilty before Judge Contreras. See Gov’t’s

Surreply, ECF No. 132 at 9 n.6. It is also undisputed that Mr.

Flynn confirmed his plea of guilty before he, along with former

defense counsel, confirmed to this Court that they had no

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“concerns that potential Brady material or other relevant

material was not provided to [Mr. Flynn].” Sentencing Hr’g Tr.,

ECF No. 103 at 10. Moreover, assuming, arguendo, that the text

messages were exculpatory and suppressed, Mr. Flynn cannot

overcome the materiality threshold for the reasons explained

below. See Strickler, 527 U.S. at 296 (concluding that

petitioner “satisfied two of the three components of a

constitutional violation under Brady,” but petitioner failed to

demonstrate that “there [was] a reasonable probability that his

conviction or sentence would have been different had [those]

materials been disclosed”).

     Mr. Flynn pled guilty to the underlying offense with

knowledge of: (1) the import of the Strzok-Page text messages,

see Gov’t’s Surreply, ECF No. 132 at 9 n.6; and (2) the IG’s

reports concerning the text messages, which were released before

Mr. Flynn’s original sentencing hearing in 2018, see Def.’s Br.,

ECF No. 109 at 12 n.14. Prior to Mr. Flynn’s acceptance of the

Plea Agreement, the government informed Mr. Flynn that Mr.

Strzok said that Mr. Flynn had a “sure demeanor and did not give

any indicators of deception during the interview” and “both

interviewing agents had the impression at the time that [Mr.

Flynn] was not lying or did not think he was lying.” Gov’t’s

Opp’n, ECF No. 122 at 16 (emphasis added). Those impressions,

however, do not “exonerate” Mr. Flynn of his crime in this case.

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See, e.g., Def.’s Ex. 1, ECF No. 133-1 at 1 (Mr. Strzok

described to Ms. Page that Mr. Flynn was “denying it all” during

the January 24, 2017 interview); Def.’s Ex. 12 (Ms. Page’s FD-

302), ECF No. 133-12 at 1 (stating that “[i]dications of

deception by [Mr.] Flynn in [the interviewing agents’]

interaction with [Mr. Flynn] had been hard to see”); id. at 2

(stating that Mr. Strzok’s text “‘denying it all’ pertained to

[Mr.] Flynn’s response to questions in his interview as to

whether his conversation with the Russian Ambassador pertained

to sanctions”).

     The government points out—and Mr. Flynn does not dispute—

that he made false statements to the FBI about his conversations

with the Russian Ambassador, and those same false statements

were repeated to the Vice President of the United States, the

White House Chief of Staff, the White House Press Secretary, and

The Washington Post. See Gov’t’s Surreply, ECF No. 132 at 7-8;

see generally Def.’s Sur-Surreply, ECF No. 135 at 1-17. As noted

by the government, those high-ranking government officials then

repeated Mr. Flynn’s false statements on national television.

Gov’t’s Surreply, ECF No. 132 at 8-9; cf. Def.’s Reply, ECF No.

133 at 14-15. Furthermore, Mr. Flynn received the government’s

productions of the actual Strzok-Page text messages after the

entry of the Standing Brady Order and before he reaffirmed his

guilty plea to this Court on December 18, 2018. Mr. Flynn

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maintained his guilty plea following the government’s

disclosures. See Gov’t’s App. A, ECF No. 122-1 at 3. The Court

therefore finds that Mr. Flynn has failed to demonstrate there

is a reasonable probability that, had the government disclosed

the actual Strzok-Page text messages prior to the parties

entering into the Plea Agreement, the disclosure would have led

to a different result. Accordingly, Mr. Flynn has failed to

establish all three elements of a Brady violation as to these

requests.

                   c. Requests 2, 19, 40, a-g, and i

     Mr. Flynn requests the disclosure of the FBI’s discussions

about conducting the January 24, 2017 interview, the debriefings

from the interviewing FBI agents after the interview, the

interviewing agents’ notes from the interview, and other

information pertaining to the interview and investigation. See

Def.’s Mot., ECF No. 111 at 4, 6, 8-9. Specifically, Request 2

seeks “[t]he original draft of Mr. Flynn’s 302 and 1A-file, and

any FBI document that identifies everyone who had possession of

it (parts of which may have been leaked to the press, but the

full original has never been produced).” Id. at 4. Request 19

seeks “[a]ny [Ms.] Yates 302s or other notes that concern Mr.

Flynn, including treatment of her meetings with FBI Agents on

January 24 and 25, 2017, her meetings with anyone in the White

House, and the draft 302 of the Flynn interview on January 24

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she reviewed or was read into.” Id. at 6. Request 40 seeks

“[u]nredacted notes of the [REDACTED] and [Mr.] Strzok from the

interview of Mr. Flynn on January 24, 2017.” Id. at 8. Finally,

Mr. Flynn requests “the unredacted 302 reports and any notes or

recordings in any form of the following meetings or interviews”:

          a. [Mr.] McCabe, regarding Mr. Flynn, his
          calls with Ambassador Kislyak, members of the
          White   House   discussing  those,   and   his
          discussions, planning session, and debriefing
          session with agents before and after the Flynn
          interview on January 24, 2017.

          b. Recordings, notes, and memoranda by any and
          all persons who participated in the planning
          session for the interview of Mr. Flynn, at
          which it was decided that the agents would not
          inform him that it was an actual interview or
          that he was under investigation—so as to keep
          him “relaxed.”. (These persons include David
          Bowdich, Jen Boone, [REDACTED], [Mr.] Strzok,
          [Ms.] Page, Trish Andersen, and [Mr.] McCabe.)

          c. Recordings, notes, and memoranda by any and
          all persons who participated in the debriefing
          sessions following the interview of Mr. Flynn,
          including [REDACTED], [Mr.] Strzok, Jon Moffa,
          [Mr.] McCabe, Bill Priestap, David Bowdich,
          [REDACTED], Trish Andersen, and James Comey.

          d. Former Principal Associate Deputy Attorney
          General Matthew Axelrod regarding Mr. Flynn.

          e. [Ms.] McCord regarding the FBI’s decision
          not to give Mr. Flynn a Title 18, Section 1001
          warning, and the decision not to re-interview
          him despite the general practice of the FBI to
          give subjects that opportunity.

          f. [Ms.] Yates, regarding her opinion that the
          January 24, 2017, surprise interview of Mr.
          Flynn was problematic and her lack of clarity
          of the FBI’s purpose in investigating Mr.

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          Flynn.

          g. White House and transition officials
          regarding Mr. Flynn’s conversations with
          Ambassador Kislyak.

                              *     *     *

          i. The entire report of the SCO’s interview of
          James Comey, provided in camera to the Court,
          but only summarized to defense counsel in the
          SCO’s letter of December 14, 2018.

Id. at 8-9. Mr. Flynn requests this information to “defeat the

factual basis for the plea.” Def.’s Reply, ECF No. 133 at 27.

     The government responds that Mr. Flynn has already received

the relevant information about the pre-interview discussions and

the post-interview debriefs, including: (1) the interviewing

agents’ interview reports; (2) Mr. McCabe’s memorandum

describing his telephone conversation with Mr. Flynn on January

24, 2017; (3) the interviewing agents’ notes; (4) drafts of the

January 24, 2017 interview reports in its possession; and

(5) summaries of the interviews from the FBI and DOJ officials

who participated in the discussions and debriefs. E.g., Gov’t’s

Opp’n, ECF No. 122 at 15; Gov’t’s App. A, ECF No. 122-1 at 2, 4,

6-7. The government argues that any communications between the

FBI and DOJ before and after Mr. Flynn’s January 24, 2017 FBI

interview has no bearing on his false statements to the FBI, and

the discussions are not favorable and material to sentencing.

Gov’t’s Opp’n, ECF No. 122 at 16. The Court agrees.


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     With respect to Request 2, the government has provided Mr.

Flynn with “the January 24 interview report, all drafts of the

interview report, and the handwritten notes of the interviewing

agents” and the “reports of interviews with the second

interviewing agent, who attest[ed] to the accuracy of the final

January 24 interview report.” Gov’t’s App. A, ECF No. 122-1 at

2. As to Request 19, the government has already provided Mr.

Flynn with “information from [Ms.] Yates’ interview report that

could reasonably be construed as favorable and material to

sentencing” and “all drafts in its possession of the January 24

interview.” Id. at 4. The only exception to the government’s

disclosures with regard to Request 19 is the information

pertaining to Ms. Yates’ meetings with persons in the White

House, which is irrelevant to Mr. Flynn’s charges in this case

or his sentencing. Id. Indeed, the Supreme Court has held that

“the Constitution, in respect to a defendant’s awareness of

relevant circumstances, does not require complete knowledge of

the relevant circumstances.” Ruiz, 536 U.S. at 630.

     With respect to Request 40, the government has provided Mr.

Flynn with “the interviewing agents’ handwritten notes of the

January 24 interview,” and “[t]he limited redactions of those

notes do not refer to information that would be favorable and

material to sentencing.” Gov’t’s App. A, ECF No. 122-1 at 6. As

to Requests a through f and Request i, the government has

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provided Mr. Flynn with: (a) “information from interviews with

[Mr.] McCabe that could reasonably be construed as favorable and

material to sentencing”; (b) “information that could reasonably

be construed as favorable and material to sentencing about such

pre-interview discussions, including the language quoted in the

request”; (c) “information about such post-interview debriefings

that could reasonably be construed as favorable and material to

sentencing”; (d) “information from former [Principal] Associate

Deputy Attorney General Matthew Axelrod’s interview report that

could reasonably be construed as favorable and material to

sentencing”; (e) “information from [Ms.] McCord’s interview

report that could reasonably be construed as favorable and

material to sentencing, including the information quoted in the

request”; (f) “information from [Ms.] Yates’ interview report

that could reasonably be construed as favorable and material to

sentencing, including the information quoted in the request”;

and (i) “information from the interview of Director Comey dated

November 15, 2017, that could reasonably be construed as

favorable and material to sentencing.” Id. at 6-7.

     Based on an in camera review of the government’s sealed

submissions to the Court on December 14, 2018, see, e.g., Min.

Order of Dec. 17, 2018; Gov’t’s Opp’n, ECF No. 122 at 16 n.8;

Gov’t’s Notice of Disc. Correspondence, ECF No. 123 at 3, the

Court agrees with the government that the requested information

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in Requests a through f and Request i has already been provided

to Mr. Flynn in the form of appropriate summaries, see Gov’t’s

App. A, ECF No. 122-1 at 6-7. As to Request g, which seeks the

unredacted FD-302s and notes or recordings of the White House

and transition officials regarding Mr. Flynn’s conversations

with the Russian Ambassador, the Court agrees with the

government that to the extent it exists the requested

information is inculpatory and not helpful to Mr. Flynn. See id.

at 7.

     Unsatisfied with the government’s productions, Mr. Flynn

advances several arguments. Mr. Flynn contends that the

interviewing FBI agents’ “characterizations” of his statements

in the January 24, 2017 “ambush interview” and their interview

notes “do not support the factual basis” for Mr. Flynn’s guilty

plea. Def.’s Reply, ECF No. 133 at 26. 9 He argues that the

interviewing FBI agents’ handwritten notes “differ materially

from the 302s” and “there were material alterations to the 302s


9 Mr. Flynn’s argument—that Mr. Strzok’s handwritten notes do not
appear to have been taken contemporaneously during the January
24, 2017 FBI interview because he was the FBI agent handling the
interview and his notes are more detailed than the other
interviewing agent’s notes—is moot. See Def.’s Reply, ECF No.
133 at 26-29. The government confirmed that it previously
misidentified the authorship of the agents’ handwritten notes
from the January 24, 2017 FBI interview. Gov’t’s Notice of Disc.
Correspondence, ECF No. 136 at 1. Accordingly, the Court finds
as moot Mr. Flynn’s request for Mr. Strzok’s handwriting
samples. See Def.’s Reply, ECF No. 133 at 29; see also Def.’s
Sur-Surreply, ECF No. 135 at 6-7.
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to set up the ‘false statements’[.]” Id. at 20. Acknowledging

that the government provided defense counsel with redacted notes

and summaries of the FBI’s interviews, Mr. Flynn contends that

the summaries of certain documents are “insufficient,” Def.’s

Br., ECF No. 109 at 13, because the redacted notes and summaries

cannot replace the “actual documents, notes, 302s, and A-1

files” and “other actual documents, notes, emails, texts or

other materials that are exculpatory or might lead to

exculpatory evidence,” id. at 16. Mr. Flynn further argues that

the interviewing FBI agents’ “notes do not even match each

other” and “[t]he notes do not say that he made any false

statements at all.” Def.’s Sur-Surreply, ECF No. 135 at 8.

     Mr. Flynn speculates that the government is suppressing the

“original 302” of the January 24, 2017 interview, Def.’s Reply,

ECF No. 133 at 28; he claims that the lead prosecutor “made it

sound like there was only one 302,” id. at 29; and he makes a

separate request for the FBI to search for the “original 302” in

one of the FBI’s databases, id. at 28-30. In Mr. Flynn’s view,

the “original 302”—if it exists—may reveal that the interviewing

FBI agents wrote in the report “their impressions that [Mr.]

Flynn was being truthful.” Id. at 28. Mr. Flynn claims that the

FBI destroyed the “original 302” to the extent that it was

stored in the FBI’s files. Id. at 30. Comparing draft FD-302s of

Mr. Flynn’s January 24, 2017 interview to the final version, Mr.

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Flynn claims that the FBI manipulated the FD-302 because

“substantive changes” were made after reports that Mr. Flynn

discussed sanctions with the Russian Ambassador “contrary to

what Vice President Pence had said on television previously.”

Id. at 14-15. Mr. Flynn points to the Strzok-Page text messages

the night of February 10, 2017 and Ms. Page’s edits to certain

portions of the draft FD-302 that were “material.” Def.’s Sur-

Surreply, ECF No. 135 at 8-9.

     To the extent Mr. Flynn has not already been provided with

the requested information and to the extent the information

exists, the Court is not persuaded that Mr. Flynn’s arguments

demonstrate that he is entitled to the requested information.

For starters, the Court agrees with the government that there

were no material changes in the interview reports, and that

those reports track the interviewing FBI agents’ notes. See,

e.g., Gov’t’s Surreply, ECF No. 132 at 4; Def.’s Reply, ECF No.

133 at 20. Mr. Flynn ignores that FBI agents rely on their notes

and memory to draft the interview reports after the completion

of an interview. See United States v. DeLeon, 323 F. Supp. 3d

1285, 1290 n.4 (D.N.M. 2018) (discussing the drafting process

for FD-302s). While handwritten notes may contain verbatim

statements, the notes of FBI agents are not verbatim transcripts

of the interview. United States v. Forbes, No. CRIM.302CR264AHN,

2007 WL 141952, at *3 (D. Conn. Jan. 17, 2007). And persuasive

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authority holds that the government’s production of summaries of

notes and other documents does not constitute a Brady violation.

See, e.g., United States v. Grunewald, 987 F.2d 531, 535 (8th

Cir. 1993) (finding no Jencks Act or Brady violations where the

government produced summaries of handwritten notes instead of

the actual notes); United States v. Van Brandy, 726 F.2d 548,

551 (9th Cir. 1984) (holding that the government fulfilled its

Brady obligations by producing summaries of the FBI’s file

because Brady “does not extend to an unfettered access to the

files”).

     As an initial matter, the Court notes that the government

has provided Mr. Flynn with the relevant FD-302s and notes

rather than summaries of them. See, e.g., Gov’t’s Surreply, ECF

No. 132 at 6-7; Gov’t’s Opp’n, ECF No. 122 at 10, 15; Gov’t’s

App. A, ECF No. 122-1 at 2; Gov’t’s Notice of Disc.

Correspondence, ECF No. 123 at 1-3. And the government states

that it will provide Mr. Flynn with the FD-302s of his post-

January 24, 2017 interviews. Gov’t’s Opp’n, ECF No. 122 at 4

n.1. Having carefully reviewed the interviewing FBI agents’

notes, the draft interview reports, the final version of the FD-

302, and the statements contained therein, the Court agrees with

the government that those documents are “consistent and clear

that [Mr. Flynn] made multiple false statements to the [FBI]

agents about his communications with the Russian Ambassador on

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January 24, 2017.” Gov’t’s Surreply, ECF No. 132 at 4-5. The

Court rejects Mr. Flynn’s request for additional information

regarding the drafting process for the FD-302s and a search for

the “original 302,” see Def.’s Sur-Surreply, ECF No. 135 at 8-

10, because the interviewing FBI agents’ notes, the draft

interview reports, the final version of the FD-302, and Mr.

Flynn’s own admissions of his false statements make clear that

Mr. Flynn made those false statements. Perhaps realizing that

his various arguments would not prevail, Mr. Flynn argues that

his false statements were not material. Def.’s Reply, ECF No.

133 at 31-32. The Court will address the remaining arguments in

turn.

                    i. Mr. Flynn’s False Statements Regarding His
                       Request to the Russian Ambassador That Russia
                       Refrain From Escalating the Situation in
                       Response to the U.S. Sanctions

        As to Mr. Flynn’s first set of false statements, see SOF,

ECF No. 4 at 2-3 ¶ 3, the interviewing FBI agents’ handwritten

notes, draft interview reports, and the final FD-302 confirm

that Mr. Flynn falsely stated that he had no recollection about

his request to the Russian Ambassador to refrain from escalating

the situation in response to U.S. sanctions, and that Mr. Flynn

falsely stated that he did not have a long conversation about




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that issue. 10 The final version of the FD-302, in relevant part,

provides:

            The interviewing agents asked FLYNN if he
            recalled any conversation with KISLYAK in
            which the expulsions were discussed, where
            FLYNN might have encouraged KISLYAK not to
            escalate the situation, to keep the Russian
            response reciprocal, or not to engage in a
            "tit-for-tat." FLYNN responded, "Not really.
            I don't remember. It wasn't, 'Don't do
            anything.'" The U.S. Government's response was
            a total surprise to FLYNN. FLYNN did not know
            about the Persona Non-Grata (PNG) action until
            it was in the media.

                                  * * *

            The interviewing agents asked FLYNN if he
            recalled any conversation with KISLYAK in
            which KISLYAK told him the Government of
            Russia had taken into account the incoming
            administration's     position     about     the
            expulsions,   or   where   KISLYAK   said   the
            Government of Russia had responded, or chosen
            to modulate their response, in any way to the
            U.S.'s actions as a result of a request by the
            incoming administration. FLYNN stated it was
            possible that he talked to KISLYAK on the
            issue, but if he did, he did not remember doing
            so.

                                  * * *


10The government attached as exhibits to its surreply brief the
drafts of the FD-302 from Mr. Flynn’s January 24, 2017 FBI
interview. Gov’t’s Ex. 3, ECF No. 132-3 at 2-16. Each draft FD-
302 is identified by the unique document numbers on each page:
(1) the first draft FD-302 is numbered DOJSCO-700022293 through
DOJSCO-700022297, id. at 2-6; (2) the second draft FD-302 is
numbered DOJSCO-700022303 through DOJSCO-700022307, id. at 7-11;
and (3) the third draft FD-302 is numbered DOJSCO-700022308
through DOJSCO-700022312, id. at 12-16. Mr. Flynn attached the
final FD-302 as an exhibit to his reply brief. Def.’s Ex. 11,
ECF No. 133-11 at 10-14.
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          FLYNN reflected and stated he did not think he
          would have had a conversation with KISLYAK
          about the matter, as he did not know the
          expulsions were coming. FLYNN stated he did
          not have a long drawn out discussion with
          KISLYAK where he would have asked him to
          "don't do something."

Def.’s Ex. 11, ECF No. 133-11 at 14. The interviewing FBI

agents’ handwritten notes and draft interview reports provide

ample support for the final FD-302’s description of Mr. Flynn’s

false statements. See, e.g., Gov’t’s Ex. 1 (Other FBI Agent’s

Notes), ECF No. 132-1 at 4 (“Ø recollection? Not really, I don’t

remember. Hey don’t do anything”; “Ø long drawn out about don’t

do something”); Gov’t’s Ex. 2 (Mr. Strzok’s Notes), ECF No. 132-

2 at 5 (“Spoke on 29th”; “Expectations”; “Surprise”; “No

recollection of that”); Gov’t’s Ex. 3 (Draft FD-302s), ECF No.

132-3 at 5-6 (“FLYNN was asked . . . if he recalled any

conversation with KISLYAK in which the expulsions were

discussed, where FLYNN might have encouraged KISLYAK to not

escalate the situation, to keep the Russian response reciprocal,

to not engage in a ‘tit-for-tat.’ FLYNN responded, ‘Not really.

I don’t remember. It wasn’t, ‘Don’t do anything.’ The U.S.

Government response was a total surprise to FLYNN. FLYNN didn’t

know about the Persona Non-Grata (PNGs) action it [sic] until it

was in the media.”); id. at 11 (“FLYNN stated it was possible

that he talked to KISLYAK on the issue, but if he did, he did

not remember doing so”; “FLYNN stated he did not have a long

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drawn out discussion with KISLYAK where he would have asked him

to ‘don't do something.’”); id. at 16 (same).

     Mr. Flynn points to an inconsistency between the final FD-

302 and the interviewing FBI agents’ notes, see Def.’s Reply,

ECF No. 133 at 30-31, as to whether Mr. Flynn remembered making

calls to the Russian Ambassador during his vacation in the

Dominican Republic in late December 2016. Compare Def.’s Ex. 11

(Final FD-302), ECF No. 133-11 at 14 (“FLYNN remembered making

four to five calls that day about this issue, but that the

Dominican Republic was a difficult place to make a call as he

kept having connectivity issues.”), with Gov’t’s Ex. 1 (Other

FBI Agent’s Notes), ECF No. 132-1 at 4 (“I Ø remember making 4-5

calls”; “If I did lousy place to call.”) and Gov’t’s Ex. 2 (Mr.

Strzok’s Notes), ECF No. 132-2 at 5 (“4-5 calls that day? If so,

don’t remember. If so, lousy place to make phone calls”).

However, any inconsistency is inconsequential because the SOF

excludes any references to Mr. Flynn’s memory of the four or

five calls made from the Dominican Republic. See generally SOF,

ECF No. 4 at 1-5.

     Accordingly, the Court finds that the notes, draft FD-302s,

and final FD-302 are both consistent and clear that Mr. Flynn

made false statements to the FBI about his communications with

the Russian Ambassador regarding his request that Russia refrain

from escalating the situation in response to the U.S. sanctions

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against Russia.

               ii. Mr. Flynn’s False Statements Regarding His
                   Request That Countries Vote Against or Delay a
                   U.N. Security Council Resolution

     As to Mr. Flynn’s second set of false statements, see SOF,

ECF No. 4 at 4-5 ¶ 4, the handwritten notes, draft FD-302s, and

the final FD-302 confirm that Mr. Flynn falsely stated that he

did not request certain countries to take any action on Egypt’s

resolution on Israeli settlements to the U.N. Security Council,

that he only asked the countries for their respective positions,

and that the Russian Ambassador never described Russia’s

response to Mr. Flynn’s request regarding the resolution. The

final FD-302, in pertinent part, states:

          The interviewing agents asked FLYNN if he
          recalled any discussions with KISLYAK about a
          United Nations (UN) vote surrounding the issue
          of   Israeli   settlements.    FLYNN   quickly
          responded, "Yes, good reminder." On the 22nd
          of December, FLYNN called a litany of
          countries to include Israel, the UK, Senegal,
          Egypt, maybe France and maybe Russia/KISLYAK.

                                  * * *

          FLYNN stated he conducted these calls to
          attempt to get a sense of where countries
          stood on the UN vote, specifically, whether
          they intended to vote or abstain. The
          interviewing agents asked FLYNN if he made any
          request of KISLYAK to vote in a particular way
          or take any action. FLYNN stated he did not.

                                  * * *

          FLYNN stated his calls were about asking where
          countries would stand on a vote, not any

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          requests of, "hey if you do this." The
          interviewing agents asked FLYNN if he made any
          comment to KISLYAK about voting in a certain
          manner, or slowing down the vote, or if
          KISLYAK described any Russian response to a
          request by FLYNN. FLYNN answered, "No." FLYNN
          stated the conversations were along the lines
          of where do you stand, and what's your
          position. FLYNN heard through other channels
          that Egypt did not like the vote, and believed
          the Egyptians of their own accord delayed the
          vote a day.

Def.’s Ex. 11, ECF No. 133-11 at 12-13. Mr. Flynn’s false

statements, as described in the final FD-302, are supported by

the interviewing FBI agents’ notes and the draft FD-302s. See,

e.g., Gov’t’s Ex. 1 (Other FBI Agent’s Notes), ECF No. 132-1 at

3 (“UN Vote – Settlements. Yes good reminder. Yeah so 22nd

December. Litany Countries get sense where stood on that vote.

UK. Senegal. Egypt, Israel, maybe France. Maybe Kislyak.”); id.

(“Get a sense abstain, veto. This very”; “More where they stand.

I Ø believe we would change anything”; “Only US Abstain. US.

Wasn’t hey if you do this it will be that kind of thing, hey

where do you stand;” “Ø please consider voting this way?”; “No.

Where do you stand? What’s position.”); Gov’t’s Ex. 2 (Mr.

Strzok’s Notes), ECF No. 132-2 at 4 (“That’s a good reminder”;

“22 Dec UN”; “Egypt”; “Israel”; “Senegal”; “France”; “Called a

bunch”; “UK”; “Don’t know if called K maybe I did”; “14 total 5

+ x Need to abstain”; “What is your position”; “No: hey if you

do this”; “Any vote this way, slow down”; “No”; “Appreciate you


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reminding me that was another convo”); Gov’t’s Ex. 3 (Draft FD-

302s), ECF No. 132-3 at 4-5, 9-10, 14-15 (substantially

similar). The Court therefore finds that the notes, draft FD-

302s, and final FD-302 provide ample support that Mr. Flynn made

false statements to the FBI about his communications with the

Russian Ambassador regarding his request that foreign officials

vote against or delay the U.N. Security Council resolution.

              iii. Mr. Flynn’s False Statements Were Material

     Mr. Flynn argues that his false statements to the FBI were

not “material” for two reasons. See Def.’s Reply, ECF No. 133 at

31-32. First, Mr. Flynn contends that his conversations with the

Russian Ambassador were unrelated to the FBI’s investigation

into Russia’s efforts to interfere in the 2016 presidential

election because the interviewing FBI agents did not ask him a

single question about election interference or any coordination

between Russia and the Trump campaign. See id. Next, Mr. Flynn

argues that the FBI had recordings and transcripts of his

conversations with the Russian Ambassador, arguing that the FBI

“knew exactly what was said” and “nothing impeded [the FBI’s]

purported investigation.” Def.’s Sur-Surreply, ECF No. 135 at

12. The government responds that Mr. Flynn’s false statements

were “absolutely material” because his false statements “went to

the heart” of the FBI’s “counterintelligence investigation into

whether individuals associated with the campaign of then-

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candidate Donald J. Trump were coordinating with the Russian

government in its activities to interfere with the 2016

presidential election.” Gov’t’s Surreply, ECF No. 132 at 10.

     Mr. Flynn advances these new arguments without citation to

any legal authority. See Def.’s Reply, ECF No. 133 at 31-32; see

also Def.’s Sur-Surreply, ECF No. 135 at 11-12. Although Mr.

Flynn’s arguments were raised for the first time in his reply

brief, see Gov’t’s Notice of Claims Raised for the First Time in

Reply, ECF No. 131 at 1-3, the Court will consider them because

the government had the opportunity to address them in its

Surreply, see Permapost Prod., Inc. v. McHugh, 55 F. Supp. 3d

14, 18 n.1 (D.D.C. 2014) (considering additional arguments

raised in reply and surreply briefs). Mr. Flynn’s first argument

fails to appreciate the FBI’s strategic decisions and

investigative techniques. Cf. United States v. VanMeter, 278

F.3d 1156, 1159 (10th Cir. 2002) (FBI uses “a variety of

conventional investigation techniques” to “unearth[] numerous

leads”). Mr. Flynn’s second argument is foreclosed by D.C.

Circuit precedent. See United States v. Moore, 612 F.3d 698, 701

(D.C. Cir. 2010) (holding that “a statement is material if it

has a natural tendency to influence, or is capable of

influencing, either a discrete decision or any other function of

the agency to which it was addressed”).

     Mr. Flynn has a fundamental misunderstanding of the law of

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materiality under 18 U.S.C. § 1001(a)(2), which requires a false

statement to be “material.” United States v. Stone, 394 F. Supp.

3d 1, 12 (D.D.C. 2019) (materiality is a necessary element to

establish a violation of the false statements statute). The

Supreme Court has instructed that “[t]he statement must have ‘a

natural tendency to influence, or [be] capable of influencing,

the decision of the decisionmaking body to which it was

addressed.’” United States v. Gaudin, 515 U.S. 506, 509 (1995)

(quoting Kungys v. United States, 485 U.S. 759, 770 (1988));

accord United States v. Diggs, 613 F.2d 988, 999 (D.C. Cir.

1979) (“Proof of actual reliance on the statement is not

required; the Government need only make a reasonable showing of

its potential effects.”). But “a statement need not actually

influence an agency in order to be material.” Moore, 612 F.3d at

701.

       As a matter of law, the government need not prove that Mr.

Flynn’s false statements impeded the FBI’s investigation in

order to establish the materiality element. See id. at 702

(holding that defendant’s false statement “was capable of

affecting the Postal Service’s general function of tracking

packages and identifying the recipients of packages entrusted to

it” and defendant’s false information “could have impeded the

ability of the Postal Service to investigate the trafficking of

narcotics through the mails”). And Mr. Flynn’s multiple false

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statements were material regardless of the interviewing FBI

agents’ knowledge of any recordings and transcripts of his

conversations with the Russian Ambassador—the existence or non-

existence of which have neither been confirmed nor denied by the

government, see Gov’t’s App. A, ECF No. 122-1 at 5—and whether

the FBI had knowledge of Mr. Flynn’s exact words during those

conversations. See United States v. Safavian, 649 F.3d 688, 691

(D.C. Cir. 2011) (rejecting defendant’s argument that his false

statements were not material where the interviewing FBI agent

“knew, based upon his knowledge of the case file, that the

incriminating statements were false when [the defendant] uttered

them”).

     Mr. Flynn’s other argument—that his false statements about

his conversations with the Russian Ambassador were not related

to the investigation into Russia’s efforts to interfere in the

election—is unavailing. “Application of § 1001 does not require

judges to function as amateur sleuths, inquiring whether

information specifically requested and unquestionably relevant

to the department’s or agency’s charge would really be enough to

alert a reasonably clever investigator that wrongdoing was

afoot.” United States v. Hansen, 772 F.2d 940, 950 (D.C. Cir.

1985). Here, Mr. Flynn’s false statements to the FBI about his

conversations with the Russian Ambassador were relevant to the

FBI’s inquiry. See SOF at 1 ¶ 1. It is undisputed that the FBI

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had already opened the investigation to, among other things,

investigate the “nature of any links between individuals

associated with the [Trump] Campaign and Russia” at the time of

Mr. Flynn’s January 24, 2017 interview. Id. A “lie distorting an

investigation already in progress” could impact the FBI’s

decision to act and follow leads. Hansen, 772 F.2d at 949;

accord United States v. Stadd, 636 F.3d 630, 639 (D.C. Cir.

2011) (defendant’s false statements were material because the

truth “would have raised red flags that would have led [the

agency’s ethics advisor] to inquire further”). As Judge Amy

Berman Jackson has noted, “it is axiomatic that the FBI is not

precluded from following leads and, if warranted, opening a new

investigation based on those leads when they uncover information

in the course of a different investigation.” Kelley v. FBI, 67

F. Supp. 3d 240, 287 n.35 (D.D.C. 2014). The Court therefore

finds that Mr. Flynn’s false statements were material within the

meaning of 18 U.S.C. § 1001(a)(2).

                   d. Requests 7, 12, and 14

     Request 7 seeks “[a]ll documents, reports, correspondence,

and memoranda, including any National Security letter or FISA

application, concerning any earlier investigation of Mr. Flynn,

and the basis for it.” Def.’s Mot., ECF No. 111 at 4. Request 12

seeks “[u]nredacted copies of all memos created by or other

communications from James Comey that mention or deal with any

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investigation, surveillance, FISA applications, interviews, or

use of a confidential human source or ‘OCONUS lures’ against Mr.

Flynn.” Id. at 5; see Def.’s Reply, ECF No. 134 at 2 (defining

“OCONUS lures” as “‘outside continental U.S.’ persons tasked by

American intelligence . . . to spy on Americans or lure them

into contacts with Russians”). Request 14 seeks the “Comey 302

for November 15, 2017, and all Comey 302s that bear on or

mention Mr. Flynn.” Def.’s Mot., ECF No. 111 at 5.

     The government responds—and Mr. Flynn does not deny—that it

has already provided Mr. Flynn with the information in Requests

7, 12, and 14 that “could reasonably be construed as favorable

and material to sentencing.” Gov’t’s App. A, ECF No. 122-1 at 2-

3. And Mr. Flynn attaches the “Relevant Comey Memos,” Def.’s

Reply, ECF No. 133 at 4, as exhibits to his reply brief, see

Def.’s Ex. 3, ECF No. 133-3 at 1-4. The Court therefore finds

that Mr. Flynn has failed to demonstrate that he is entitled to

the requested information in Requests 7, 12, and 14 to the

extent it has not already been provided to him.

                   e. Request 22

     Request 22 seeks “[a]ny and all evidence that during a

senior-attended FBI meeting or video conference, [Mr.] McCabe

said ‘First we f[**]k Flynn, then we f[**]k Trump,’ or words to

that effect.” Def.’s Mot., ECF No. 111 at 6. The government

responds that this request falls into the “already provided”

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category because the government has “provided extensive evidence

to [Mr. Flynn] disproving this allegation, including statements

from both interviewing agents.” Gov’t’s App. A, ECF No. 122-1 at

4. And the government contends that it is unaware of evidence

that Mr. McCabe made the alleged statements. Gov’t’s Opp’n, ECF

No. 122 at 9. Mr. Flynn does not challenge the government’s

evidence, and his exhibits to his reply brief refute the alleged

statements. See, e.g., Def.’s Ex. 12, ECF No. 133-12 at 1 (Ms.

Page: “At no point in time did [Mr.] McCabe say ‘F[**]k [Mr.]

Flynn.’”); Def.’s Ex. 133-5 at 3 (Mr. Strzok: “[M]y impression

of the [alleged statements] is that it is ludicrous.”). Because

the Court agrees that the government has already provided Mr.

Flynn with information to disprove the alleged statements, the

Court therefore finds that Mr. Flynn has not established that he

is entitled to the information in Request 22, to the extent it

has not already been provided to him.

                   f. Request 33

     Request 33 seeks “Brady or Giglio material newly discovered

by the government (and by the [IG] in his separate

investigations) in the last two years.” Def.’s Mot., ECF No. 111

at 7. Mr. Flynn does not explain how this requested information

is non-duplicative of the Brady motions themselves. See id. The

government responds that it has already provided Mr. Flynn with

the information requested in Request 33. Gov’t’s App. A, ECF No.

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122-1 at 5. The Court therefore finds that Mr. Flynn has failed

to demonstrate that he is entitled to the requested information

in Request 33 to the extent it has not already been provided to

him.

                     g. Request h

       Request h—seeking the unredacted FD-302s, notes, or

recordings of the meetings or interviews with “Michael Boston,

Phil Oakley, Carl Pilgrim, Graham Miller, regarding [FIG] and

Mr. Flynn, and Brian McCauley, regarding Mr. Flynn’s desire to

file FIG’s FARA registration ‘the right way’ with the DOJ,”

Def.’s Mot., ECF No. 111 at 9—falls within the “already

provided” category. Although it is undisputed that the

government did not bring criminal charges against Mr. Flynn for

willfully failing to register under FARA, see, e.g., Gov’t’s

App. A, ECF No. 122-1 at 7; Def.’s Reply, ECF No. 133 at 21, the

government responds that it “had previously provided information

from the interview reports of the listed persons pertaining to

[Mr. Flynn’s] desire to register ‘the right way’ with the DOJ”

and that “[t]he only listed person who made such a statement was

Brian McCauley,” Gov’t’s App. A, ECF No. 122-1 at 7. Mr. Flynn

does not deny the government’s response to this request. See

generally Def.’s Reply, ECF No. 133 at 21. The Court therefore

finds that Mr. Flynn has not satisfied his burden of

demonstrating that he is entitled to the requested information

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in Request h to the extent it has not already been provided to

him.

                 5. Information that Is Unrelated to the Charges
                    Against Mr. Flynn or to His Sentencing

                     a. Requests 8, 15, 16, and Mr. Flynn’s Brady
                        Motion, ECF No. 124

       In Requests 8, 15, 16, and Mr. Flynn’s motion for newly-

discovered Brady evidence, ECF No. 124, Mr. Flynn seeks

information, including documents and communications, regarding:

(1) human resources or “OCONUS lures against Mr. Flynn since his

departure as the Director of the United States Defense

Intelligence Agency (“DIA”) in 2014; (2) “[n]otes and documents

of any kind dealing with any briefings that Mr. Flynn provided

to DIA after he left the government”; (3) information “about

Joseph Mifsud’s [(“Mr. Mifsud”)] presence and involvement in

engaging or reporting on Mr. Flynn” and Mr. Mifsud’s presence at

a dinner in Russia in December 2015; and (4) data and metadata

in Mr. Mifsud’s two Blackberry devices. E.g., Def.’s Mot., ECF

No. 111 at 4-5; Def.’s Suppl., ECF No. 116 at 1; Def.’s Mot. to

Compel Newly Discovered Brady Evid., ECF No. 124 at 1-2. The

government responds that this case “does not involve conduct or

communications before July 2016.” Gov’t’s Opp’n, ECF No. 122 at

4. The government contends that these requests—concerning Mr.

Mifsud, documents about Mr. Flynn’s briefings to DIA, and the

human resources or “OCONUS lures” since Mr. Flynn’s tenure at

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DIA—cover topics that are irrelevant and unrelated to either Mr.

Flynn’s false statements to the FBI on January 24, 2017 or to

his punishment. See Gov’t’s App. A, ECF No. 122-1 at 3l; see

also Gov’t’s Opp’n, ECF No. 130 at 1-2.

     For his part, Mr. Flynn argues that his requests for

information about the DIA briefings and debriefings will

“exonerate him of being any kind of foreign agent.” Def.’s

Reply, ECF No. 133 at 34. Mr. Flynn asserts that the reference

to “OCONUS lures” in the Strzok-Page text messages means that

there is some evidence that Mr. Mifsud was one of the people

outside the United States used to either “spy on Americans or

lure them into contacts with Russia . . . .” Def.’s Reply, ECF

No. 134 at 2. That theory, however, has no relation to Mr.

Flynn’s false statements or his sentencing, and Mr. Flynn does

not explain how it satisfies the favorability element. See

Def.’s Reply, ECF No. 134 at 2; see also Def.’s Reply, ECF No.

133 at 19 n.12. Rather, Mr. Flynn attacks the impetus of the

criminal investigation, arguing that Mr. Mifsud’s devices “may”

provide evidence that the government “concoct[ed] a pretext” to

investigate Mr. Flynn. Def.’s Reply, ECF No. 134 at 3.

     The government argues that “[Mr.] Mifsud is connected to

the criminal activity of George Papadopoul[o]s,” a person who

pled guilty to lying to the FBI about his interactions with Mr.

Mifsud. Gov’t’s Opp’n, ECF No. 130 at 2 (citing SOF, United

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States v. Papadopoulos, Crim. Action No. 17-182 (D.D.C. Oct. 5,

2017), ECF No. 19). The government points out that the Mueller

Report contains no references connecting Mr. Flynn and Mr.

Mifsud. Gov’t’s Opp’n, ECF No. 130 at 2. By not responding to

those points, Mr. Flynn has conceded them. See Def.’s Reply, ECF

No. 134 at 1-4. Nonetheless, the Court agrees with the

government that those requests are unrelated to Mr. Flynn’s

false statements and sentencing and are outside of the relevant

time period in this case. And Mr. Flynn has failed to

demonstrate that the DIA information is favorable to his false

statements. See Sitzmann, 74 F. Supp. 3d at 134-35.

     The Court therefore finds that Mr. Flynn has failed to

establish the requisite elements of a Brady claim as to Requests

8, 15, 16, and Mr. Flynn’s Brady motion, ECF No. 124. 11


11The Court rejects Mr. Flynn’s argument that the government’s
August 16, 2019 production—a total of 330 pages of documents
provided in response to a Congressional inquiry and as a
courtesy to Mr. Flynn—constitutes a Brady violation. See Def.’s
Mot., ECF No. 111 at 2-3; see also Gov’t’s Notice of Disc.
Correspondence, ECF No. 123 at 2. Mr. Flynn contends that the
government withheld this production, which shows the renewal of
his security clearance and that he passed a polygraph test in
2016. Def.’s Mot., ECF No. 111 at 3. According to the
government, the production consisted of Mr. Flynn’s
“questionnaires to obtain a security clearance and Department of
Defense directives, and included no new information that was
relevant to the defendant’s false statements to the FBI on
January 24, 2017.” Gov’t’s Opp’n, ECF No. 122 at 11. Mr. Flynn
does not challenge the government’s representations. See
generally Def.’s Reply, ECF No. 133 at 5-36. The Court agrees
with the government that such information is irrelevant to Mr.
Flynn’s false statements in this case and his sentencing.
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                   b. Requests 1, 3, 4, 11, 17, 21, 25, 28, and 35

     Mr. Flynn requests certain information regarding the

circumstances that led to his January 24, 2017 FBI interview,

the events surrounding his prosecution, and any earlier

investigations into him. See Def.’s Mot., ECF No. 111 at 3-7.

Specifically, Request 1 seeks a letter from the British Embassy

to the National Security team for the incoming Trump

Administration after the November 2016 election that allegedly

discredits reporting by former British intelligence officer

Christopher Steele (“Mr. Steele”). Id. at 3-4; see also Def.’s

Reply, ECF No. 133 at 35 (arguing that the letter “undermines

the entire ‘Russian-collusion’ fable that [the then-FBI Director

and other government officials] used to justify their unlawful

conduct”). 12 Request 3 seeks “[a]ll documents, notes,

information, FBI 302s, or testimony regarding Nellie Ohr’s

research on Mr. Flynn and any information about transmitting it

to the DOJ, CIA, or FBI.” Id. at 4; see Def.’s Suppl., ECF No.




12“The word ‘collusion’ does not even appear in the [then-Acting
Attorney General’s] Appointment Order, and the Special Counsel
was tasked with taking over the existing investigation,
‘including’ ‘any links and/or coordination.’” United States v.
Manafort, 312 F. Supp. 3d 60, 72 (D.D.C. 2018) (citation
omitted); cf. Mueller Report, ECF No. 79-1 at 10 (“[C]ollusion
is not a specific offense or theory of liability found in the
United States Code, nor is it a term of art in federal criminal
law.”). The Special Counsel identified several links between the
Russian government and the Trump campaign. Mueller Report, ECF
No. 79-1 at 9.
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116 at 1 (“Any drafts, electronic communications (‘ECs’),

emails, and texts related to Nellie Ohr’s research on Mr. Flynn,

and all CIA cables on the topic as well.”). Request 4 seeks

“[a]ll payments, notes, memos, correspondence, and instructions

by and between the FBI, CIA, or DOD with Stefan Halper—going

back as far as 2014—regarding [Mr.] Flynn,” and several other

individuals. Def.’s Mot., ECF No. 111 at 4; see also Def.’s

Suppl., ECF No. 116 at 1.

     Request 11 seeks “[a]ll evidence of press contacts between

the Special Counsel Office, including Andrew Weissmann, Ms.

Ahmad, and Mr. Van Grack from the departure of [Mr.] Strzok from

[the] Special Counsel team until December 8, 2017, regarding Mr.

Flynn.” Def.’s Mot., ECF No. 111 at 5. Request 17 seeks “[a]ll

notes, memoranda, 302s, and other information about the McCabe-

Strzok meeting or meetings with Vice President-Elect or Vice

President Pence . . . .” Id. Request 21 seeks “[a]ll information

provided by Kathleen Kavalec at the Department of State to the

FBI regarding [Mr.] Steele prior to the first FISA application.”

Id. at 6. Request 25 seeks “[a]ll documents, notes, information,

FBI 302s, or testimony regarding any debriefing that Bruce Ohr

gave to anyone in the FBI or Department of Justice regarding

[Mr.] Steele.” Id. Request 28 seeks “[i]nformation identifying

reporters paid by Fusion GPS and/or the Penn Quarter group to

push ‘Russia Collusion,’ communications regarding any stories

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about Mr. Flynn, and any testimony or statements about how the

reporters were used by the government regarding Mr. Flynn.” Id.

Request 35 seeks “[a]ll FBI 302s, notes, memoranda of James

Clapper regarding Mr. Flynn, and the cell phone and home phone

records of Mr. Clapper and David Ignatius between December 5,

2016, and February 24, 2017.” Id. at 7.

     The government responds—and the Court agrees—that each

request is not relevant to Mr. Flynn’s false statements during

his January 24, 2017 FBI interview or to his sentencing. Gov’t’s

App. A, ECF No. 122-1 at 2-5. Mr. Flynn fails to make out a

Brady claim for the requested information regarding any earlier

investigations, the circumstances that led to the January 24,

2017 FBI interview, or the events surrounding his prosecution

because Mr. Flynn fails to establish the favorability element.

Even assuming, arguendo, that the information regarding the

circumstances that led to Mr. Flynn’s January 24, 2017 FBI

interview, the events surrounding his prosecution, and any

earlier investigations were both exculpatory and suppressed, Mr.

Flynn bears the burden of showing a reasonable probability of a

different outcome. Strickler, 527 U.S. at 291. “[E]vidence is

material only if there is a reasonable probability that, had the

evidence been disclosed to the defense, the result of the

proceeding would have been different.” Bagley, 473 U.S. at 682

(“A ‘reasonable probability’ is a probability sufficient to

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undermine confidence in the outcome.”). Mr. Flynn cannot

overcome this hurdle.

     Mr. Flynn appears to seek this information to: (1) support

his claims of government misconduct; and (2) cast doubt on the

legal basis for the FBI’s investigation. See Def.’s Reply, ECF

No. 133 at 19, 19 n.13, 34-35. Mr. Flynn also asserts, without

support, that the Special Counsel’s Office was “manipulating or

controlling the press to their advantage to extort the plea.”

Def.’s Br., ECF No. 109 at 4. Regardless of Mr. Flynn’s new

theories, he pled guilty twice to the crime, and he fails to

demonstrate that the disclosure of the requested information

would have impacted his decision to plead guilty.

     To be sure, Mr. Flynn was aware of the circumstances of the

January 24, 2017 interview, and the allegations of misconduct

against the FBI officials before he entered his guilty pleas.

Sentencing Hr’g Tr., ECF No. 103 at 8-9. Mr. Flynn did not

challenge those circumstances, and he stated, under oath, that

he was aware that lying to the FBI was a crime. Id. In response

to this Court’s questions, Mr. Flynn maintained his guilty plea.

Id. at 9-10. None of Mr. Flynn’s arguments demonstrate that

prejudice ensued. See Strickler, 527 U.S. at 291. The Court

therefore finds that there was no reasonable probability that

Mr. Flynn would not have pled guilty had he received the

requested information in Requests 1, 3, 4, 11, 17, 21, 25, 28,

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and 35.

                   c. Requests 24, 26, and 27

     Mr. Flynn seeks all FISA applications relating to him and

the “Russia matter,” and other information concerning the FISA

applications since 2015. Def.’s Mot., ECF No. 111 at 6. Request

24 seeks “[a]ll information that underlies the several FISA

applications, including any information showing that any of the

assertions in the applications were false, unverified, or

unverifiable.” Id. Request 26 seeks “[t]estimony, interviews,

302s, notes of interviews of all persons who signed FISA

applications regarding Mr. Flynn or anyone that would have

reached Mr. Flynn’s communications, without regard to whether

those applications were approved or rejected.” Id. Request 27

seeks “[a]ll FISA applications since 2015 related to the Russia

matter, whether approved or rejected, which involve Mr. Flynn or

reached his communications with anyone.” Id.

     The government responds that Requests 24, 26, and 27 are

overly broad, Gov’t’s App. A, ECF No. 122-1 at 4-5, and the

requested information regarding the FISA applications do not

“pertain to information that would be favorable and material to

sentencing.” Id. Mr. Flynn fails to offer a specific response to

the government’s arguments; instead, he posits that “the FBI and

DOJ had no legal basis to obtain a FISA warrant against Carter

Page or to investigate Mr. Flynn.” Def.’s Reply, ECF No. 133 at

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19. 13 Mr. Flynn has tailored numerous requests under the theory

that his crime should not be viewed in a “vacuum” because his

“improper interview,” the interviewing FBI agents’ conduct, and

the “broader landscape” of the “unjust prosecution are all

relevant to Mr. Flynn’s alleged guilt.” Id. at 26.

     Mr. Flynn hypothesizes that the government has suppressed

evidence that could support his Fourth Amendment defenses, id.,

citing Judge Rosemary Collyer’s redacted opinion in a separate

proceeding, Def.’s Mot., ECF No. 109 at 8. Under Mr. Flynn’s

theory, “[i]nformation was obtained against [him] either through

the illegal FISA warrant on Carter Page, baseless National

Security Letters, an undisclosed FISA warrant, or the abuses of

the [National Security Agency (“NSA”)] database documented in

the heavily redacted opinion of Judge Rosemary Collyer.” Def.’s

Reply, ECF No. 133 at 19 n.13. Mr. Flynn contends that there




13Mr. Page was a foreign policy advisor to then-candidate Trump,
and the Special Counsel investigated Mr. Page as part of the
investigation into Russia’s interference in the 2016 election.
See Mueller Report, ECF No. 79-2 at 1, 30. As Judge Mehta has
observed, the President declassified “information concerning the
‘Dossier’—the 35-page compilation of memoranda prepared by [Mr.]
Steele concerning Russian efforts to influence the 2016
presidential election and alleged ties between Russia and then
candidate Trump.” James Madison Project v. Dep’t of Justice, 320
F. Supp. 3d 143, 145 (D.D.C. 2018); see id. at 147 (stating a
Congressman revealed that “in October 2016, the FBI relied in
part on portions of the Dossier’s contents to secure a [FISA]
warrant as to [Mr.] Page”). In his reply brief, Mr. Flynn
provides two pages of the Dossier that mentions him, Mr. Page,
and other individuals. See Def.’s Ex. 7, ECF No. 133-7 at 1-2.
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have been “egregious Fourth Amendment violations” in this case

based, in part, on Judge Collyer’s redacted opinion finding

“Fourth Amendment violations by the FBI in areas that likely

involve [the FBI’s] actions against Mr. Flynn.” Def.’s Br., ECF

No. 109 at 8 (emphasis added).

     The government argues that Mr. Flynn “makes no mention of

[his] plea agreement” in which he waived his right to challenge

the admissibility of the evidence against him. See Gov’t’s

Opp’n, ECF No. 122 at 20 n.11. The government correctly notes

that a criminal defendant may waive his constitutional and

statutory rights under certain circumstances so long as it is a

knowing and voluntary waiver. Id. at 7 n.2 (collecting cases).

Indeed, “a guilty plea results in the defendant’s loss of any

meaningful opportunity he might otherwise have had to challenge

the admissibility of evidence obtained in violation of the

Fourth Amendment.” Haring v. Prosise, 462 U.S. 306, 320 (1983).

Mr. Flynn offers no opposition to the government’s argument that

his guilty plea forecloses his Fourth Amendment challenges.

Buried in a footnote, however, Mr. Flynn asserts that “[t]he

government’s Brady violations have suppressed evidence of Fourth

Amendment defenses [he] was entitled to pursue, especially if

that evidence also shows government misconduct.” Def.’s Reply,

ECF No. 133 at 19 n.13.

     A plea of guilty “represents a break in the chain of events

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which has preceded it in the criminal process.” Tollett v.

Henderson, 411 U.S. 258, 267 (1973). “[W]hen a criminal

defendant enters a guilty plea, ‘he may not thereafter raise

independent claims relating to the deprivation of constitutional

rights that occurred prior to the entry of the guilty plea.’”

Blackledge v. Perry, 417 U.S. 21, 29 (1974) (quoting Tollett,

411 U.S. at 266). “A valid guilty plea also renders irrelevant .

. . related government conduct that takes place before the plea

is entered.” Class v. United States, 138 S. Ct. 798, 805 (2018).

As the D.C. Circuit has observed, “[a] knowing and voluntary

guilty plea ordinarily waives all constitutional claims,

including those arising under the Fourth Amendment, relating to

the deprivation of rights occurring prior to the entry of the

plea.” United States v. Fincham, No. 99-3062, 2000 WL 274210, at

*1 (D.C. Cir. Feb. 15, 2000) (“By entering an unconditional

guilty plea, appellant waived his right to object to the

constitutionality of the search and seizure.”).

     With these principles in mind, Mr. Flynn’s guilty pleas

support the government’s waiver argument. See, e.g., Gov’t’s

Opp’n, ECF No. 122 at 20 n.11; Plea Agreement, ECF No. 3 at 6 ¶

9(C) (“[B]y pleading guilty in this case [Mr. Flynn] agrees to

waive certain rights afforded by the Constitution of the United

States” including “to challenge the admissibility of evidence

offered against [him]”); Plea Hr’g Tr., ECF No. 16 at 9. Because

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his guilty pleas effectively bar him from raising claims based

on any evidence obtained in violation of the Fourth Amendment,

Mr. Flynn is not entitled to the information in Requests 24, 26,

and 27 on that ground.

     Even if Mr. Flynn did not waive his Fourth Amendment

claims, Mr. Flynn must establish that the requested information

is favorable. To determine whether Mr. Flynn has or has not

established the favorability element of Brady, the Court need

not express a view on the validity of any FISA warrants obtained

from the Foreign Intelligence Surveillance Court. Mr. Flynn

fails to demonstrate that any information related to the FISA

warrant that he has identified is favorable to his guilt or

punishment. Based on the government’s representations, see

Gov’t’s Surreply, ECF No. 132 at 12, FISA warrants are separate

and apart from the FBI’s investigation, see id.; see also SOF,

ECF No. 4 at 1 ¶ 2 (stating that Mr. Flynn’s “false statements

and omissions impeded and otherwise had a material impact on the

FBI’s ongoing investigation”) (emphasis added). The government

correctly points out—and Mr. Flynn does not contest—that

“[o]btaining a FISA warrant . . . is entirely different from the

FBI interviewing an individual as part of an ongoing

counterintelligence investigation.” Gov’t’s Surreply, ECF No.

132 at 12; see generally Def.’s Sur-Surreply, ECF No. 135 at 1-

17. The government argues that the FBI had “multiple bases” to

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interview Mr. Flynn, including his false statements to White

House officials about his conversations with the Russian

Ambassador. Gov’t’s Surreply, ECF No. 132 at 12. Furthermore,

Mr. Flynn does not explain the relevance of the FISA information

or any earlier investigations to the charges in this case or his

sentencing. See Def.’s Br., ECF No. 109 at 8. The Court

therefore finds that Mr. Flynn has failed to demonstrate that he

is entitled to the information in Requests 24, 26, and 27.

                   d. Request 32

     Request 32 seeks “[i]nformation about any parts of any

polygraph examinations failed by [Mr.] Strzok after Mr. Flynn

was first the subject of any FBI investigation—authorized or

unauthorized.” Def.’s Mot., ECF No. 111 at 7. The government

neither confirms nor denies the existence of this information.

Gov’t’s App. A, ECF No. 122-1 at 5. The government responds that

such information—“[w]hether or not [it] exists”—is not helpful

to Mr. Flynn because it is not favorable and material to

sentencing. Id. Mr. Flynn fails to establish the favorability

element or the materiality element. See Sitzmann, 74 F. Supp. 3d

at 134.

     To the extent that Mr. Flynn seeks such information under

Rule 16, Mr. Flynn must show that the requested information is

material to the preparation of his defense. See Marshall, 132

F.3d at 67-69. Mr. Flynn does not move to compel the production

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of the requested information under Rule 16. See generally Def.’s

Mot., ECF No. 111 at 1-9; Def.’s Br., ECF No. 1-17. Nonetheless,

“Rule 16 . . . requires the government to disclose, upon

request, inter alia, statements by the defendant and documents

and objects in the government’s control where ‘the item is

material to preparing the defense,’ Fed. R. Crim. P.

16(a)(1)(E)(i), or the government intends to use the item in its

case in chief, id. 16(a)(1)(E)(ii).” United States v. Williams

Cos., 562 F.3d 387, 396 (D.C. Cir. 2009) (citations omitted).

“[I]n the context of Rule 16, ‘the defendant’s defense’ means

the defendant’s response to the Government’s case in chief.”

Armstrong, 517 U.S. at 462. Here, Mr. Flynn fails to demonstrate

that the polygraph results would have been material to preparing

his defense against his false statements to the FBI on January

24, 2017 or that the government intended to introduce any

polygraph results in its case-in-chief. Accordingly, the Court

finds that Mr. Flynn is not entitled to the information in

Request 32.

                   e. Request 37

     Request 37 seeks “[a]ll FBI 302s or any notes of interviews

of David Ignatius or any other reporter regarding the

publication of information concerning Mr. Flynn and/or the

reporters’ contacts with James Clapper, [Mr.] McCabe, John

Brennan, Michael Kortan, or anyone in the FBI, DNI, DOD, DOJ, or

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CIA regarding Mr. Flynn.” Def.’s Mot., ECF No. 111 at 7. The

government responds that this information is irrelevant and not

helpful because it is unrelated to Mr. Flynn’s false statements

to the FBI in this case or his sentencing. Gov’t’s App. A, ECF

No. 122-1 at 6. The Court agrees with the government because Mr.

Flynn has neither established the Brady elements for the

requested information in Request 37, see Strickler, 527 U.S. at

281-82, nor the relevance of such information, see Trombetta,

467 U.S. at 485.

                    f. Request 38

      Request 38 seeks “FBI 302s and interview notes of Jim

Woolsey, including notes by SCO members of conversations with

Woolsey about Mr. Flynn, [FIG], the Turkey project, and his

separate meeting with officials of Turkey after the meeting that

was the subject of the FIG FARA filing.” Def.’s Mot., ECF No.

111 at 7. The government responds that this requested

information is not helpful to Mr. Flynn, and asserts that it is

unaware of information from Mr. Woolsey that is favorable and

material to Mr. Flynn’s sentencing. Gov’t’s App. A, ECF No. 122-

1 at 6. Because Mr. Flynn has failed to demonstrate the

relevance, favorability, and materiality of the requested

information, the Court therefore finds that Mr. Flynn has not

established that he is entitled to the information in Request

38.

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                   g. Request 36

     Request 36 seeks “[u]nredacted scope memos written for the

Special Counsel and any requests by Special Counsel that mention

Mr. Flynn or his son.” Def.’s Mot., ECF No. 111 at 7. The

government responds that such information is not helpful,

unfavorable, and not material to sentencing. Gov’t’s App. A, ECF

No. 122-1 at 6. The government notes that the then-Acting

Attorney General granted the Special Counsel with authority to

investigate individuals, including Mr. Flynn. Id. Mr. Flynn does

not explain how this information satisfies the favorability or

materiality elements. The Court therefore finds that Mr. Flynn

has failed to demonstrate that he is entitled to the requested

information in Request 36.

               6. Remaining Requests

                   a. Request 23

     Request 23 seeks “[t]he two-page Electronic Communication

(EC) that allegedly began the ‘Russia Collusion’ investigation.”

Def.’s Mot., ECF No. 111 at 6. The government responds that this

topic is irrelevant and unrelated to Mr. Flynn’s false

statements to the FBI on January 24, 2017 and his sentencing.

Gov’t’s App. A, ECF No. 122-1 at 4. The Court agrees. Mr. Flynn

has failed to establish the relevance of this requested

information to his guilt and punishment in this case.



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                   b. Request 29

     Request 29 seeks the “FBI 302s of KT McFarland, notes of

interviews of her or her own notes, and text messages with Mr.

Flynn from approximately December 27, 2016, until Flynn’s

resignation.” Def.’s Mot., ECF No. 111 at 6. The government

responds that the pertinent portion of the Mueller Report

describes that “former Deputy National Security Advisor K.T.

McFarland stated in an interview that [Mr. Flynn] relayed to her

that he had conversations with the Russian Ambassador in

December 2016, about which [Mr. Flynn] made false statements to

the FBI on January 24, 2017.” Gov’t’s App. A, ECF No. 122-1 at

5.

     The Mueller Report provides a comprehensive summary of Mr.

Flynn’s communications with individuals working on the Trump

Transition Team, including his communications with Ms.

McFarland, regarding Mr. Flynn’s conversations with the Russian

Ambassador. See Mueller Report, ECF No. 79-3 at 26-30. Mr. Flynn

does not challenge the sufficiency or accuracy of the Mueller

Report’s description. See generally Def.’s Reply, ECF No. 133 at

5-36. Mr. Flynn does not deny that he has access to the

requested information in another form (i.e. the Mueller Report).

See id.; see also United States v. Harris, No. CRIM. 06-00124

(ESH), 2006 WL 2882711, at *2 (D.D.C. Oct. 5, 2006) (finding no

Brady violation where “defendant [said] nothing to contradict

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the government’s representation that the information contained

therein [was] cumulative of information to which she already

ha[d] access”). Mr. Flynn has not demonstrated that the

requested information is favorable. Even if the requested

information was exculpatory and suppressed, Mr. Flynn has

neither demonstrated that there is a reasonable probability that

the requested information would have led to a different outcome,

nor shown that the information he seeks would not be cumulative.

See Harris, 2006 WL 2882711, at *2.

                   c. Request 34

     Request 34 seeks “[a] full unredacted and copies of the

recordings of Mr. Flynn’s calls with Ambassador Kislyak or

anyone else that were reviewed or used in any way by the FBI or

SCO in its evaluation of charges against Mr. Flynn.” Def.’s

Mot., ECF No. 111 at 7. The government responds that “[w]hether

or not such information exists, it does not pertain to

information that would be favorable and material to sentencing.”

Gov’t’s App. A, ECF No. 122-1 at 5. Without specifically

addressing the government’s response, Mr. Flynn appears to seek

such information about the existence or non-existence of any

recordings between him and the Russian Ambassador because:

(1) “[o]ne would imagine there are differences between the

recordings of the calls and what Mr. Flynn recalled to the

agents who stopped by his office that day, but that is not

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evidence that he lied, and he did not”; and (2) “[a]s the agents

themselves realized when they spoke to him, he may have been

wrong, but he was honest to the best of his recollection at the

time.” Def.’s Sur-Surreply, ECF No. 135 at 7 n.6. Because Mr.

Flynn has failed to establish that the requested information,

whether or not it exists, is exculpatory, he has failed to

establish a Brady claim. The Court therefore finds that Mr.

Flynn has failed to demonstrate that he is entitled to the

information in Request 34.

       D. Mr. Flynn’s Request for Classified Information

     The Court next considers Mr. Flynn’s request for classified

information. See Def.’s Br., ECF No. 109 at 13-16; see also

Gov’t’s Opp’n, ECF No. 122 at 13 (“A number of the defendant’s

requests seek access to classified information that may or may

not exist.”). Mr. Flynn also seeks access to his statements in

the DIA briefings and debriefings, which he claims have been

classified. Def.’s Reply, ECF No. 133 at 34. Mr. Flynn seeks

access to the unredacted information in certain documents and

summaries of the interviews. Id. at 32-34. Acknowledging that

“[m]any of those interview reports contain privileged material,

including classified information[,]” the government maintains

that “[i]nformation in those reports that could reasonably be

construed as favorable and material to [Mr. Flynn’s] guilt or

punishment has been provided to [Mr. Flynn] in the form of

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summaries.” Gov’t’s Opp’n, ECF No. 122 at 15-16 n.8. The

government argues that Mr. Flynn has failed to demonstrate that

the requested information is helpful to the defense under the

standard set forth in United States v. Yunis, 867 F.2d 617, 623-

24 (D.C. Cir. 1989). Id. at 13-14.

     Section 4 of the Classified Information Procedures Act

(“CIPA”), 18 U.S.C. app. 3 § 4, governs the discovery of

classified information. Libby, 429 F. Supp. 2d at 7. “Although

this ‘Section creates no new rights of or limits on discovery of

a specific area of classified information . . . [,] it

contemplates an application of the general law of discovery in

criminal cases to the classified information based on the

sensitive nature of the classified information.’” Id. (quoting

Yunis, 867 F.2d at 621). “A more stringent, three-part test

applies where the Defendant seeks classified information from

the Government[.]” United States v. Kim, No. CRIM. 10-255 CKK,

2013 WL 3866545, at *2 (D.D.C. July 24, 2013). First, the Court

must determine whether the information “crosse[s] the low hurdle

of relevance.” Yunis, 867 F.2d at 623. Second, the Court must

evaluate whether “the assertion of privilege by the government

is at least a colorable one.” Id. Third, “the threshold for

discovery in this context further requires that [the

information] . . . is at least ‘helpful to the defense of [the]

accused.’” Id. (quoting Roviaro v. United States, 353 U.S. 53,

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60-61 (1957)). In Yunis, the D.C. Circuit held that “classified

information is not discoverable on a mere showing of theoretical

relevance in the face of the government’s classified information

privilege.” Id.

     Mr. Flynn relies on Yunis for the proposition that he is

entitled to his own statements in the DIA briefings and

debriefings. See Def.’s Reply, ECF No. 133 at 34 (citing Yunis,

867 F.2d at 621). Mr. Flynn’s reliance on Yunis is misplaced.

While the D.C. Circuit in Yunis observed that Federal Rule of

Criminal Procedure 16(a)(1)(A) “entitles a defendant to discover

‘any relevant written or recorded statements made by the

defendant,’” 867 F.2d at 621, Mr. Flynn ignores the D.C.

Circuit’s guidance that “CIPA, on the other hand, as noted

above, provides procedures governing the defendant’s access to

classified information sought to be discovered from the

government,” id. at 622. According to the government, Mr. Flynn

elected not to follow the CIPA procedures. See Gov’t’s Opp’n,

ECF No. 122 at 12; see also Joint Status Report, ECF No. 107 at

4.

     “Federal Rule of Criminal Procedure 16(a)(1)(A) and

(B) provide that the Government, upon a defendant’s request,

must disclose certain of defendant’s oral, written, and recorded

statements, but this right is not absolute.” United States v.

Hausa, 232 F. Supp. 3d 257, 261 (E.D.N.Y. 2017) (emphasis

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added); accord United States v. Libby, 429 F. Supp. 2d 46, 48

(D.D.C. 2006) (Rule 16(d)(1) permits the Court to deny or

restrict discovery to protect national security). 14 Mr. Flynn

does not address or cite Rule 16(d)(1). See Def.’s Reply, ECF

No. 133 at 32-35. Even if Mr. Flynn did so, the D.C. Circuit in

Yunis held that the district court abused its discretion in

ordering the disclosure of transcripts of classified audio

recordings of conversations between the defendant and the FBI’s

informant under CIPA because the disclosure would have harmed

national security and the statements “were no more than

theoretically relevant and were not helpful to the presentation

of the defense or essential to the fair resolution of the

cause.” 867 F.2d at 625.

     By any conceivable measure, Mr. Flynn’s requested

information is neither helpful nor relevant to the defense. See

id. at 623. Despite this Court’s discussion of Yunis and the

need for the analysis to focus on whether the requested

information is relevant and helpful with regard to Mr. Flynn’s




14Rule 16(d)(1) provides:
     At any time the court may, for good cause, deny,
     restrict, or defer discovery or inspection, or grant
     other appropriate relief. The court may permit a party
     to show good cause by a written statement that the court
     will inspect ex parte. If relief is granted, the court
     must preserve the entire text of the party’s statement
     under seal.
Fed. R. Crim. P. 16(d)(1).
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sentencing, see Status Hr’g Tr. (Sept. 10, 2019), ECF No. 114 at

7, 10, 14, Mr. Flynn fails to show how the requested information

meets the “relevant and helpful” standard, see Def.’s Reply, ECF

No. 133 at 32-33. To the extent that the information in the DIA

briefings and debriefings are classified, Mr. Flynn fails to

explain how his statements in those records are relevant to his

false statements in this case or sentencing. See id. at 34.

Mr. Flynn’s main argument for those records—that the “DIA

reports the defense requests will not only exonerate him of

being any kind of foreign agent but evince that the FBI/DOD knew

this all along,” id.—does not meet the relevancy threshold, see

Yunis, 867 F.2d at 623, given that the government has not

charged Mr. Flynn with being a foreign agent.

     Neither does Mr. Flynn demonstrate that he is entitled to a

letter from the former United Kingdom’s National Security

Advisor regarding the Steele reporting or the information beyond

the summaries that the government has provided to him. See

Def.’s Reply, ECF No. 133 at 33-35. The government provided Mr.

Flynn with summaries of the documents because some of the

information contains privileged material, including classified

information. See Gov’t’s Opp’n, ECF No. 122 at 15-16, 16 n.8;

see also 18 U.S.C. app. 3 § 4. And the government submitted the

full interview reports under seal for the Court’s in camera

review. Gov’t’s Opp’n, ECF No. 122 at 16 n.8. Having carefully

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reviewed those submissions, the Court agrees with the government

that the summaries of the interviews contain the relevant

information. Mr. Flynn’s requests for additional information are

based on speculation and theoretical relevance. See Yunis, 867

F.2d at 623-25. Furthermore, the credibility of the Steele

reporting is irrelevant and not helpful to Mr. Flynn’s defense.

See id. The Court therefore finds that Mr. Flynn has failed to

satisfy the requirements as set forth in Yunis. 15 Accordingly,

the Court need not address Mr. Flynn’s requests for a

preservation order and a finding of civil contempt against the

prosecutors because Mr. Flynn has not established the elements

for a Brady claim. See Def.’s Br., ECF No. 109 at 12 n.14, 17.

       E. Remaining Issues

     Having found that Mr. Flynn did not demonstrate that he is

entitled to the requested information under Brady and Yunis, the


15Mr. Flynn seeks the Court’s intervention for defense counsel’s
request for security clearances. See, e.g., Joint Status Report,
ECF No. 107 at 2-3 (stating that “the government continues to
deny our request for security clearances. Our attempts to
resolve that issue with the government have come to a dead end,
thus requiring the intervention of this Court”); Def.’s Br., ECF
No. 109 at 9 n.12 (“This classified and heavily redacted opinion
is one of the documents for which defense counsel requests a
security clearance and access.”); Def.’s Mot., ECF No. 111 at 3
(stating that “the prosecutors exude arrogance in their flat
denials of both our request for security clearances”). On
September 5, 2019, the Court held a sealed and ex parte hearing
concerning Mr. Flynn’s request for the Court’s intervention. See
Min. Entry of Sept. 5, 2019. To the extent that Mr. Flynn
continues to press for the Court’s intervention, the request is
moot in light of the Court’s denial of his Brady motions.
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Court next considers Mr. Flynn’s remaining arguments. First, Mr.

Flynn argues that the government failed to move to disqualify

his former counsel due to an “intractable conflict of interest.”

Def.’s Reply, ECF No. 133 at 21. Next, Mr. Flynn contends that

he was “ambush[ed]” during his January 24, 2017 FBI interview

and “trapp[ed]” into “making statements they could allege as

false.” Id. at 5. The Court will address each argument in turn.

               1. Conflict of Interest

     The Sixth Amendment to the United States Constitution

guarantees “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the [a]ssistance of [c]ounsel for

his defense.” United States v. Celis, 608 F.3d 818, 828 n.3

(D.C. Cir. 2010) (quoting U.S. Const. amend. VI). The Supreme

Court has recognized that there is a strong “presumption in

favor of counsel of choice,” Wheat v. United States, 486 U.S.

153, 161 (1988), but there is also a “right to representation

that is free from conflicts of interest,” Wood v. Georgia, 450

U.S. 261, 271 (1981). “[T]he Sixth Amendment right to conflict-

free representation is subject to knowing and voluntary waiver.”

United States v. Lopesierra-Gutierrez, 708 F.3d 193, 200 (D.C.

Cir. 2013). Furthermore, the Court has “an independent interest

in ensuring that criminal trials are conducted within the

ethical standards of the profession and that legal proceedings

appear fair to all who observe them.” Wheat, 486 U.S. at 160.

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     According to Mr. Flynn, he “paid [Covington & Burling] more

than $1 million to investigate, prepare, and then defend the

FARA registration in response to NSD/FARA section’s and David

Laufman’s demands.” Def.’s Reply, ECF No. 133 at 21. Mr. Flynn

argues that his former attorneys were obligated to withdraw

their representation even if he was fully informed in writing of

the potential conflict. Id. at 21 (footnote omitted). According

to Mr. Flynn, his former attorneys had an un-waivable conflict

of interest by representing him for: (1) the charge stemming

from the false statements that he made during his January 24,

2017 FBI interview; and (2) the potential criminal charges as to

the false statements in his FARA filings. Id. Mr. Flynn argues

that he pled guilty without access to the information requested

in his Brady motions, id. at 20, but he stops short of arguing

that his guilty pleas were invalid, id. at 21. Neither does Mr.

Flynn allege ineffective assistance of counsel. See generally

id. at 20-22. Rather, Mr. Flynn contends that the government

“harvested a guilty plea” without bringing to the Court’s

attention the conflict-of-interest issue, id. at 22, and Mr.

Flynn waived the potential conflict of interest without being

adequately informed, Def.’s Sur-Surreply, ECF No. 135 at 16.

     The government responds that it raised the potential

conflict of interest with Mr. Flynn’s former counsel on November

1, 2017, and November 16, 2017. Gov’t’s Surreply, ECF No. 132 at

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11. The lead prosecutor memorialized both conversations, and Mr.

Flynn’s former counsel explained to the government on November

1, 2017 that “they (Covington) were aware of the potential

conflict, had previously discussed it with [Mr. Flynn], and that

[Mr. Flynn] was interested in nevertheless continuing to be

represented by Covington.” Gov’t’s Ex. 5, ECF No. 132-5 at 2. On

November 16, 2017, former counsel confirmed to the government

that Mr. Flynn “waived any such conflict” after “they had

‘thoroughly discussed’ the issue with [him], including that they

(Covington) could be fact witnesses and have differing interests

from [Mr. Flynn] on issues relating to the alleged false

statements.” Id. Indeed, Mr. Flynn’s former attorneys testified

in a criminal trial in a different federal district court

regarding the FARA filings. See Def.’s Sur-Surreply, ECF No. 135

at 16. 16 As the government correctly points out, Mr. Flynn




16The Court takes judicial notice of the existence of a news
article concerning the testimony of Mr. Flynn’s former attorney
in United States v. Rafiekian, Crim. Action No. 18-457 (E.D.
Va.). See Sandza v. Barclays Bank PLC, 151 F. Supp. 3d 94, 113
(D.D.C. 2015) (“Taking judicial notice of the existence of
[news] articles is entirely proper.”). On July 16, 2019, Mr.
Flynn’s former counsel testified that Mr. Flynn “reviewed and
approved a filing to [DOJ] that he has admitted contains false
statements but claims he did not read.” Rachel Weiner, Michael
Flynn Reviewed FARA Filing He Later Called False, Ex-lawyer
Testifies, Wash. Post. (July 16, 2019, 10:34 PM),
https://www.washingtonpost.com/local/public-safety/michael-
flynns-ex-lawyer-testifies-on-the-former-national-security-
advisers-consulting-work/2019/07/16/f317b28a-a801-11e9-86dd-
d7f0e60391e9_story.html.
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declined this Court’s invitation for the appointment of “an

independent attorney to speak with [the] defendant, review the

defendant’s file, and conduct necessary research to render a

second opinion for [the] defendant.” Gov’t’s Surreply, ECF No.

132 at 11 (quoting Sentencing Hr’g Tr., ECF No. 103 at 9). Mr.

Flynn, however, contends that the government was obligated to

alert the Court of the potential conflict of interest. Def.’s

Sur-Surreply, ECF No. 135 at 16-17.

     The Court is not persuaded by Mr. Flynn’s arguments for two

reasons. First, Mr. Flynn’s reliance on Wheat, a case that

involved multiple and successive joint representation, is

misplaced. In that case, the Supreme Court addressed the issue

of whether “a criminal defendant’s right under the Sixth

Amendment to his chosen attorney is qualified by the fact that

the attorney has represented other defendants charged in the

same criminal conspiracy.” Wheat, 486 U.S. at 159. Because there

is “an independent duty to ensure that criminal defendants

receive a trial that is fair” and there is a “need to

investigate potential conflicts” in cases involving joint

representation, id. at 161, the Court explained that “where a

court justifiably finds an actual conflict of interest, there

can be no doubt that it may decline a proffer of waiver, and

insist that defendants be separately represented,” id. at 162.

The Supreme Court upheld the district court’s disqualification

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of a defense attorney who sought to represent a defendant after

representing co-defendants in the same complex drug distribution

case because the decision to disqualify was within the trial

judge’s discretion and it did not violate the defendant’s Sixth

Amendment right to counsel of choice. Id. at 163-64. Although

the government brought the “potential for serious conflict of

interest” to the district court’s attention, id. at 156, the

Supreme Court’s holding in Wheat does not compel the government

to raise potential conflicts of interest with the Court, see id.

at 163-164. Contrary to Mr. Flynn’s assertion, Wheat did not

require the government to move for disqualification of his

former counsel.

     Next, Mr. Flynn’s argument—that he was not fully informed

of the conflict of interest—is unavailing. See Def.’s Sur-

Surreply, ECF No. 135 at 16; see also Def.’s Reply, ECF No. 133

at 21 n.14 (citing D.C. Rules Prof’l Conduct R. 1.7(c)(2)). Mr.

Flynn cites Rule 1.7(c)(2) of the District of Columbia Rules of

Professional Conduct, which provides that “[a] lawyer may

represent a client with respect to a matter in the circumstances

described in [Rule 1.7(b)] if . . . “[t]he lawyer reasonably

believes that the lawyer will be able to provide competent and

diligent representation to each affected client.” D.C. Rules

Prof’l Conduct R. 1.7(c)(2). Rule 1.7(b) provides that “a lawyer

shall not represent a client with respect to a matter if” the

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lawyer takes or will likely take adverse positions or if the

“lawyer’s professional judgment on behalf of a client will be or

reasonably may be adversely affected by the lawyer’s

responsibilities to or interests in a third party or the

lawyer’s own financial, business, property, or personal

interests.” Id. R. 1.7(b). Rule 1.7(a) provides that “a lawyer

shall not advance two or more adverse positions in the same

matter.” Id. R. 1.7(a).

     Conflicts of interest under Rule 1.7(b) may be waived by

the client with informed consent. See, e.g., D.C. Rules Prof’l

Conduct R. 1.7(c)(1) (lawyer may represent the client if the

“potentially affected client provides informed consent to such

representation after full disclosure of the existence and nature

of the possible conflict and the possible adverse consequences

of such representation”); id. R. 1.0(e) (defining “informed

consent” as “the agreement by a person to a proposed course of

conduct after the lawyer has communicated adequate information

and explanation about the material risks of and reasonably

available alternatives to the proposed course of conduct”).

Unlike a conflict under Rule 1.7(b), “a conflict arising [under

1.7(a)] from the lawyer’s advancing adverse positions in the

same matter cannot be waived in advance or otherwise.” Id. R.

1.7 cmt. 32 (emphasis added); see id. R. 1.0(h) (defining

“matter” as “any litigation, administrative proceeding, lobbying

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activity, application, claim, investigation, arrest, charge or

accusation, the drafting of a contract, a negotiation, estate or

family relations practice issue, or any other representation,

except as expressly limited in a particular rule”).

     Rule 1.7(a)’s “absolute prohibition” on conflicting

representations in the same matter is “inapplicable” where “the

adverse positions to be taken relate to different matters.” D.C.

Rules Prof’l Conduct R. 1.7(a) cmt. 3. Here, Mr. Flynn does not

argue that his former counsel advanced adverse positions in this

criminal matter. See Def.’s Reply, ECF No. 133 at 21; see also

Def.’s Surreply, ECF No. 135 at 16. Instead, Mr. Flynn contends

that his former counsel was an adverse witness in the case in

the Eastern District of Virginia—a different jurisdiction and a

different matter involving a different defendant. Furthermore,

the government did not bring criminal charges based on the FARA

filings against Mr. Flynn in this case or in the separate case

in the Eastern District of Virginia. Thus, the Court will assume

that Mr. Flynn relies on Rule 1.7(b) because he cites to Rule

1.7(c)(2), Def.’s Reply, ECF No. 133 at 21 n.14, and “FIG and

[Mr.] Flynn subsequently retained Covington to represent them in

connection with any potential FARA filing,” Rafiekian, 2019 WL

4647254, at *5.

     The gravamen of Mr. Flynn’s argument concerns the “decisive

issue” of waiver. Lopesierra-Gutierrez, 708 F.3d at 200. The

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D.C. Circuit has explained that “a court may decline to accept a

waiver if the conflict of interest jeopardizes the integrity of

the proceedings.” Id. “In making this determination, a court

balances the defendant’s right to choose his representative

against both the defendant’s countervailing right to conflict-

free representation and the court’s independent interest in the

integrity of criminal proceedings.” Id. And “[t]he outcome of

that balance turns on the nature and extent of the conflict.”

Id.

      In Lopesierra-Gutierrez, the D.C. Circuit held that the

district court acted within its discretion in finding that the

defendant knowingly, intelligently, and voluntarily waived any

conflict of interest where: (1) his attorney was implicated in

criminal activity for accepting laundered funds that were

purportedly the product of the defendant’s drug conspiracy; and

(2) “a stipulation bar[red] presentation of incriminating

testimony” at the jury trial. Id. at 202. In doing so, the D.C.

Circuit rejected the defendant’s argument that his waiver was

not knowing or voluntary. Id. The D.C. Circuit reasoned that the

defendant assured the district court that he had waived any

potential conflict of interest despite being advised that his

attorney would have adverse interests as the subject of a

criminal investigation. Id. The D.C. Circuit explained that the

defendant was “represented by an independent attorney” and he

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“was fully aware of the nature of the conflict and the

consequences of waiver.” Id. The D.C. Circuit concluded that the

defendant “made a rational and informed decision that, given the

stipulation and the limited nature of his attorney’s conflict,

he wanted to proceed. That he now wishes he had chosen

differently gives us no reason to doubt the validity of that

choice.” Id.

     Here, it is undisputed that this Court did not have the

opportunity to address the conflict-of-interest issue, determine

whether an actual conflict existed at the time, or decide

whether Mr. Flynn’s waiver of the potential conflict of interest

was knowing and voluntary. Cf. Iacangelo v. Georgetown Univ.,

710 F. Supp. 2d 83, 94 (D.D.C. 2010) (scheduling a hearing to

determine whether a client gave his “informed consent” to

determine whether a law firm had a waivable conflict of

interest). Mr. Flynn cites no controlling precedent to support

the proposition that the government was required to bring the

conflict-of-interest issue to the Court’s attention. See Def.’s

Reply, ECF No. 133 at 22. And Mr. Flynn does not ask this Court

to find—and the Court cannot find—that his waiver was neither

knowing nor voluntary.

               2. Mr. Flynn’s Other Theories

     Finally, the Court summarily disposes of Mr. Flynn’s

arguments that the FBI conducted an ambush interview for the

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purpose of trapping him into making false statements and that

the government pressured him to enter a guilty plea. The record

proves otherwise. See, e.g., Def.’s Br., ECF No. 109 at 4

(arguing that the government was “putting excruciating pressure

on [Mr. Flynn] to enter his guilty plea”); Def.’s Reply, ECF No.

133 at 5 (arguing that “high-ranking FBI officials orchestrated

an ambush-interview . . . for the purpose of trapping him into

making false statements they could allege as false”); id. at 6

(asserting that the FBI and others “plot[tted] to set up an

innocent man and create a crime”); id. at 18 (contending that

“[t]he FBI had no factual or legal basis for a criminal

investigation” and that the FBI’s investigation was a “pretext

for investigating Mr. Flynn”); id. at 27 (arguing that “Mr.

Flynn was honest with the [FBI] agents to the best of his

recollection at the time, and the [FBI] agents knew it”).

     The sworn statements of Mr. Flynn and his former counsel

belie his new claims of innocence and his new assertions that he

was pressured into pleading guilty to making materially false

statements to the FBI. E.g., Sentencing Hr’g Tr., ECF No. 103 at

11 (affirming it was not his “contention that Mr. Flynn was

entrapped by the FBI”); id. (affirming that “Mr. Flynn’s rights

were [not] violated by the fact that he did not have a lawyer

present for the interview”); Plea Agreement, ECF No. 3 at 10 (“I

fully understand this [Plea] Agreement and agree to it without

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reservation. I do this voluntarily and of my own free will,

intending to be legally bound.”); Plea Hr’g Tr., ECF No. 16 at

29 (affirming that no one “forced, threatened, or coerced [Mr.

Flynn] in any way into entering this plea of guilty”). And it is

undisputed that Mr. Flynn not only made those false statements

to the FBI agents, but he also made the same false statements to

the Vice President and senior White House officials, who, in

turn, repeated Mr. Flynn’s false statements to the American

people on national television. See Gov’t’s Surreply, ECF No. 132

at 8.

                                 *     *     *

     Mr. Flynn’s requested relief is dismissal of this case. See

Def.’s Reply, ECF No. 133 at 36; see also Def.’s Sur-Surreply,

ECF No. 135 at 17. He seeks dismissal of the charges against him

and the entire prosecution for government misconduct. E.g.,

Def.’s Reply, ECF No. 133 at 7, 23 n.15, 36; Def.’s Sur-

Surreply, ECF No. 135 at 17. The government disagrees. See

Gov’t’s Surreply, ECF No. 132 at 12-15. This case is not United

States v. Theodore F. Stevens, Criminal Action No. 08–231(EGS),

the case that Mr. Flynn relies on throughout his briefing. In

that case, the Court granted the government’s motion to dismiss,

and the government admitted that it had committed Brady

violations and made misrepresentations to the Court. In re

Special Proceedings, 825 F. Supp. 2d 203, 204 (D.D.C. 2011)

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(Sullivan, J.). Even if Mr. Flynn established a Brady violation

in this case, dismissal would be unwarranted because “[t]he

remedy for a Brady violation is retrial, not dismissal.” United

States v. Borda, 941 F. Supp. 2d 16, 19 n.1 (D.D.C. 2013)

(citing Pettiford, 627 F.3d at 1228). “[D]ismissal is

appropriate only as a last resort, where no other remedy would

cure prejudice against a defendant.” Pasha, 797 F.3d at 1139.

V.   Conclusion

     For the reasons set forth above, the Court DENIES

Mr. Flynn’s Motion to Compel the Production of Brady Material

and for an Order to Show Cause, ECF Nos. 109 & 111; Mr. Flynn’s

Sealed Motion to Compel the Production of Brady Material, ECF

No. 112; Mr. Flynn’s Sealed Motion for an Order to Show Cause,

ECF No. 113; and Mr. Flynn’s Motion to Compel the Production of

Newly Discovered Brady Evidence, ECF No. 124. An appropriate

Order accompanies this Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          December 16, 2019




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